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  CCC/CMM:AT
  F. #2022R00047

  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  - -------------------------X                                  TO BE FILED UNDER SEAL

  UNITED STATES OF AMERICA                                      AFFIDAVIT IN SUPPORT OF
                                                                THE GOVERNMENT’S MOTION
                                                                TO REVOKE BAIL
     - against -
                                                                23-CR-00293(JMA)
  ADAM KAPLAN,

                               Defendant.

  - -------------------------X

                    EASTERN DISTRICT OF NEW YORK, SS:

                    JOHN M. IANNUZZI, being duly sworn, deposes and says that he is a Special

  Agent with the Federal Bureau of Investigation (“FBI”), duly appointed according to law and

  acting as such.

                    For the reasons set forth below, there is (1) probable cause that, on or about and

  between July 2023 and August 2024, within the Eastern District of New York and elsewhere, the

  defendant ADAM KAPLAN committed a Federal, State, or local crime while on release and (2)

  clear and convincing evidence that on or about and between July 2023 and August 2024, within

  the Eastern District of New York and elsewhere, the defendant ADAM KAPLAN did knowingly

  violate the conditions of his release pending trial in the case United States v. Adam Kaplan and

  Daniel Kaplan, 23-CR-00293(JMA), in that ADAM KAPLAN, among other things, attempted to

  bribe government officials, attempted to threaten witnesses, continued to contact victims and
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  witnesses, and engaged in a new scheme to defraud, all of which was in violation of this Court’s

  order.

                 (Title 18, United States Code, Section 3148(b)(1))

                 The source of your deponent’s information and the grounds for his belief are as

  follows:1

           A.    INTRODUCTION

                 1.     I have been a Special Agent with the FBI for 23 years. I have been assigned

  the investigation of the defendants in the above-captioned matter. The allegations set forth below

  are based on my interviews of witnesses, review of documentary evidence, and from witness

  interviews and evidence provided to me by other special agents of the FBI, and other law

  enforcement agencies in the United States.

                 2.     On July 18, 2023, a federal grand jury in the Eastern District of New York

  returned an indictment charging the defendants ADAM KAPLAN and DANIEL KAPLAN with:

  (1) conspiracy to commit wire fraud, in violation of Title 18, United States Code, Section 1349;

  (2) ten counts of wire fraud, in violation of Title 18, United States Code, Section 1343; (3)

  investment advisor fraud, in violation of Title 15, United States Code, Sections 80b-6, 80b-14 and

  80b-17; and (4) four counts of money laundering, in violation of Title 18, United States Code,

  Section 1957(a).

                 3.     On July 25, 2023, the defendants were arrested and arraigned on the

  indictment. And that same day, the Court released the defendants on identical $2.5 million bonds



                 1
                           Because the purpose of this Affidavit is to state only sufficient facts to
  support the motion for the issuance of an arrest warrant pursuant to 18 U.S.C. § 3148(b), I have
  not set forth herein all the relevant facts and circumstances of which I am aware.




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  signed by the defendants and two other signees (ADAM KAPLAN’s bond is attached hereto as

  Exhibit 1 and referred hereinafter as the “Bond”). The Bond is secured by the specific property

  identified in the Bond. (Id.) Among other conditions, the Court imposed the following conditions

  as to pretrial release of the defendants: (1) the defendants not violate any federal, state or local law

  while on release; (2) the defendant not have any contact with any victims or witnesses; and (3) the

  defendants refrain from employment pertaining to investment advisement. (Id.)

          B.      ADAM KAPLAN’S PRE-INDICTMENT CRIMES (OTHER THAN THOSE
                  ALLEGED IN THE INDICTMENT) AND OBSTRUCTIVE CONDUCT2

                  4.      Based on my knowledge of and participation in this investigation, I know

  that ADAM KAPLAN and DANIEL KAPLAN (the “KAPLANS”) were aware of FBI and grand

  jury investigations of the KAPLANS as far back as at least 2022. In fact, a former attorney

  representing the KAPLANS made a presentation to the U.S. Attorney’s Office for the Eastern

  District of New York (“USAO-EDNY”) in or about August 2022, and that law firm produced

  documents on behalf of the KAPLANS later that month.3 The KAPLANS also were aware of an

  investigation, and ultimately of charges filed by the Securities and Exchange Commission

  (“SEC”). Those charges were filed on or about March 3, 2023. I also know that the KAPLANS

  were the subject of civil litigation from several victims, including in or about January 2023 and

  March 2023. At least one of those lawsuits was filed in Nassau County, New York.




                  2
                          The information in this section was not obtained until after indictment.
                  3
                          That attorney also called me to discuss the FBI investigation around the
  same period.




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                 5.       As part of this investigation, I, along with other law enforcement officers,

  have interviewed a coconspirator of ADAM KAPLAN (“CC-1”) on several occasions.4                Law

  enforcement officers extracted text-based messages between CC-1 and ADAM KAPLAN from

  CC-1’s cellular device that corroborate what CC-1 informed me. CC-1 also provided audio

  recordings between CC-1 and ADAM KAPLAN that corroborate what CC-1 informed me. Based

  on those conversations, and the materials provided to law enforcement by CC-1, there is probable

  cause to believe that ADAM KAPLAN attempted to obstruct justice and intimidate witnesses

  before the indictment in this case and continued that conduct after indictment.

                 6.       For example, prior to April 19, 2023, while the KAPLANS were aware of

  the FBI and EDNY grand jury investigations, according to CC-1, CC-1 provided ADAM

  KAPLAN and DANIEL KAPLAN “burner” phones for the purpose of avoiding detection by law

  enforcement.       According to subpoenaed records, rather than being subscribed to by the

  KAPLANS, the phones were in the name of CC-1. The first text from CC-1 to ADAM KAPLAN,

  who was using the burner phone ending in number 3046 (the “3046 Burner Phone”), was “I wanna

  be your first text!!!” That was sent on April 19, 2023.




                 4
                         CC-1 was convicted of a felony for wire fraud in 1993, a felony for “passing
  a bed check” in 1994, for bank fraud in 2004, and for grand larceny in 2009. CC-1 also has
  multiple violations of his probation and parole. Although CC-1 has not signed any cooperation
  agreement with the government, CC-1 provided CC-1’s cellular device to the government and
  voluntarily agreed to be interviewed by the government in the hopes of receiving leniency. As
  discussed below, CC-1 admitted to committing several crimes with ADAM KAPLAN in CC-1’s
  interviews with law enforcement. CC-1 has proved credible and reliable, as he has been
  corroborated by evidence including audio recordings, documentary evidence, text messages, and
  information provided by other witnesses.




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               a. THE FICTITIOUS EMAIL (APRIL 2023 – PRE-INDICTMENT)

                    7.    As explained in the indictment, a financial services firm, an entity the

  identity of which is known to me (the “Financial Services Firm”), was an SEC-registered

  investment firm that, among other things, employed financial advisers to manage the investments

  of its clients.

                    8.    The KAPLANS were associated as investment adviser representatives with

  the Financial Services Firm from in or about and between May 2018 and July 2021. Generally, the

  KAPLANS each made investment-related recommendations to their clients; had discretion,

  including trading authority, over their clients’ accounts; ordered trades; and managed their clients’

  investment portfolios. After leaving the Financial Services Firm, the KAPLANS continued to act

  as investment advisers to their clients.

                    9.    Based on my knowledge of the investigation, I know that the KAPLANS

  were fired from the Financial Services Firm after some of their alleged frauds were uncovered.

  Victim-1, whose identity is known to me, was one of many victims that complained to the Financial

  Services Firm before the KAPLANS were fired. Victim-1’s complaint, among many other things,

  was that ADAM KAPLAN promised Victim-1 that he would charge Victim-1 advisory fees of 1%

  for his services, but that, instead, ADAM KAPLAN falsely submitted to the Financial Services

  Firm an investment advisory agreement with a higher fee percentage.

                    10.   According to CC-1, in or around April 2023, while aware of the grand jury

  and FBI investigations, ADAM KAPLAN first instructed CC-1 to break into Victim-1’s email and

  send a fake email to ADAM KAPLAN for the purposes of creating fake evidence to exonerate

  ADAM KAPLAN. When CC-1 was unable to gain access to Victim-1’s email account, ADAM

  KAPLAN instructed CC-1 to create a fake account that was nearly identical to Victim-1’s




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  authentic email address (i.e., the fake account name was changed by one number (255 instead of

  252)). He then directed CC-1 to send an email from that fictitious email address to ADAM

  KAPLAN so that ADAM KAPLAN could use that fake email as evidence of his innocence and to

  impeach Victim-1’s credibility.

                11.     CC-1 is corroborated by text messages between CC-1 and ADAM

  KAPLAN. On April 20, 2023, almost immediately after ADAM KAPLAN began using the 3046

  Burner Phone, CC-1 sent ADAM KAPLAN an image. The image was of the email referenced in

  the preceding paragraph purporting to be from Victim-1, but was actually sent from CC-1 at

  ADAM KAPLAN’s direction.




                                             Figure-1

                12.     In this fictitious email written by CC-1 at ADAM KAPLAN’s direction,

  and sent by CC-1 to ADAM KAPLAN, ADAM KAPLAN concocted a false explanation for why

  Victim-1 requested from ADAM KAPLAN two separate investment advisory agreements – one

  for 1%, and one for a higher percentage.




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                 13.    On May 25, 2023, ADAM KAPLAN sent images from the 3046 Burner

  Phone by text message to CC-1, showing the fictitious email (purportedly from Victim-1) that CC-

  1 created for ADAM KAPLAN. That appears below (with Victim-1’s name and the fictitious

  email redacted) in Figure-2.




                                             Figure-2




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             b. THE FLOWER-SELLING PONZI-SCHEME (PRE-INDICTMENT)

                 14.      In addition to the fraudulent conduct alleged in the indictment, ADAM

  KAPLAN and CC-1 engaged in a months’-long conspiracy, both pre- and post-indictment, to

  defraud victims into purchasing shares of a flower-selling investment. According to victims and

  CC-1, ADAM KAPLAN and CC-1 told purported investors that CC-1 was in the business of

  selling flowers. Based on representations from ADAM KAPLAN and CC-1 that investor funds

  would be used as part of flower-selling investments (the victims’ money would be used to purchase

  flowers, which would then be resold), victims then provided hundreds of thousands of dollars to

  ADAM KAPLAN and CC-1, and then ADAM KAPLAN and CC-1 used those funds for their own

  purposes, including to pay back individuals that complained that they had not yet been repaid by

  ADAM KAPLAN (either in the flower-selling scheme or otherwise). According to CC-1, in

  furtherance of the scheme, ADAM KAPLAN instructed CC-1 to send ADAM KAPLAN texts and

  emails that CC-1 was ordering flowers so that ADAM KAPLAN could forward those messages to

  victims.

                 15.      For example, on May 9, 2023, CC-1 texted ADAM KAPLAN “175 boxes[.]

  Signed, sealed and delivered!!!” According to CC-1, both CC-1 and ADAM KAPLAN knew that

  CC-1 had never purchased, sold, or delivered any flowers. On May 15, 2023, CC-1 texted ADAM

  KAPLAN, “I just spoke to Jorge one of our wholesalers and he was sold out of our roses by

  Saturday[.]” According to CC-1, both ADAM KAPLAN and CC-1 knew that CC-1 had never

  ordered any flowers.5



                 5
                        There are many instances of texts such as these. For example, on June 14,
  2023, CC-1 wrote: “I just put the order in with Jorge. We are ready to rock n roll. I can’t believe
  we are doing this much business. Impressive.”




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                16.     ADAM KAPLAN routinely texted CC-1 when victims were about to wire

  funds to invest in the flower-selling business. According to CC-1, ADAM KAPLAN knew that

  the victims’ funds were not being used to purchase any flowers, and no flowers were ever

  purchased. For example, on May 30, 2023, ADAM KAPLAN texted CC-1, “Wire coming to you

  from Chase ([Flower Victim-1]) for 15K or 18K.” According to CC-1, ADAM KAPLAN knew

  that those funds were going to be used to repay other individuals that ADAM KAPLAN and CC-

  1 owed money to and not to purchase flowers. According to CC-1, ADAM KAPLAN also knew

  that CC-1 never purchased flowers in bulk for resale, nor did he resell any flowers because they

  never purchased any flowers.

                17.     On June 6, 2023, ADAM KAPLAN texted CC-1 about the large amount of

  funds that they had “raised” from the victims. ADAM KAPLAN wrote CC-1, “Let me know a

  number that we can plug in for 48wk X when you can. I raised a fortune so please include a fair

  figure there.” According to CC-1, ADAM KAPLAN was asking for what percentage of the money

  would be sent to ADAM KAPLAN. According to a text from ADAM KAPLAN, at that point,

  ADAM KAPLAN and CC-1 had raised $321,000. According to CC-1, CC-1 never purchased nor

  sold any flowers. Despite that, CC-1 wrote, “We have made alot of people alot of money!!” And

  ADAM KAPLAN responded, “Yes we/you have!” ADAM KAPLAN later wrote, for each victim,

  what was “due me [ADAM KAPLAN]”.

                18.     On June 8, 2023, ADAM KAPLAN texted CC-1 that Flower Victim-1 and

  Flower Victim-2 would collectively be sending $83,000 to CC-1.6 ADAM KAPLAN texted, “We




                6
                      Based on my knowledge of the investigation, “Flower Victim-1” and
  “Flower Victim-2” were not victims of the indicted conduct. “Victim-1” through “Victim-16” are
  victims of the KAPLANS’ conduct that was charged in the indictment.



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 hit a home run.” CC-1 responded, “Excellent. Takes off a bunch of pressure and will make every

 one a bunch of mula.” CC-1 informed me that taking “off a bunch of pressure” meant that prior

 victims were asking for the return of their money, and that CC-1 would be using new money from

 Flower Victim-1 and Flower Victim-2 to pay back those other victims. CC-1 informed me that

 ADAM KAPLAN understood this. ADAM KAPLAN responded, “Truly wonderful”.

                19.     Despite that the funds were not used to purchase flowers, ADAM KAPLAN

 instructed CC-1 to send messages that the money would be sent to “Jorge”. For example, after

 Flower Victim-1 and Flower Victim-2 sent approximately $83,000 to CC-1, CC-1 texted ADAM

 KAPLAN, “I already sent the money to Jorge[.] Order number one and order number two are

 filled”. According to CC-1, no money was sent to a “Jorge,” and no orders were filled, because

 none were placed.

                20.     On June 13, 2023, ADAM KAPLAN wrote that Flower Victim-1 and

 Flower Victim-2 “want to put in more $.” That same day, ADAM KAPLAN wrote “[t]hey’ll

 furnish you with 72 just please furnish me with that 4 later this week so I can get those two people

 out of my hair.” According to CC-1, “They’ll” referred to Flower Victim-1 and Flower Victim-2.

 According to CC-1, CC-1 would receive $72,000 from those victims, and ADAM KAPLAN

 directed CC-1 to send ADAM KAPLAN $4,000 so that ADAM KAPLAN could pay back other

 victims who were complaining about being owed money. According to CC-1, these were Ponzi

 payments from ADAM KAPLAN to those victims.

                21.     On June 14, 2023, ADAM KAPLAN sent screenshots of wires that CC-1

 had received from Flower Victim-1 and Flower Victim-2 totaling $83,000. ADAM KAPLAN

 informed CC-1 that together, at that point, Flower Victim-1 and Flower Victim-2 sent $126,000 to

 CC-1, and that they would be sending an additional $82,000.




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                22.     ADAM KAPLAN then asked CC-1 to confirm that certain amounts had

 been sent and that Flower Victim-1 and Flower Victim-2 should send certain additional funds. He

 also told CC-1 to “[g]et rid of the one remaining Bukharian Inna - I can’t stand them anymore and

 they don’t deserve your kindness.” According to CC-1, ADAM KAPLAN was telling CC-1 to

 use part of the funds to pay off another individual (referred to as the “Bukharian Inna”) that ADAM

 KAPLAN owed money to. CC-1 responded, in part, “That replaces the 150 plus 40 plus 10 from

 old school Russia!! Nice.” According to CC-1, CC-1 was referring to replacing money that he

 needed to pay back to prior victims. According to CC-1, these again were Ponzi payments.

            c. ATTEMPTS TO TAMPER WITH, THREATEN AND PAY OFF WITNESSES
               (PRE-INDICTMENT)

                23.     According to CC-1, ADAM KAPLAN paid him to intimidate witnesses and

 victims. According to CC-1, however, CC-1 took ADAM KAPLAN’s money, but did not

 intimidate any witnesses – he simply defrauded ADAM KAPLAN.                 CC-1 lied to ADAM

 KAPLAN and told ADAM KAPLAN that he had connections (for example, to mob-related

 individuals) who, for a fee, would be willing to intimidate witnesses and victims. CC-1, in fact,

 did not in fact have those connections, and so CC-1 took payments from ADAM KAPLAN and

 did not engage in the conduct that he told ADAM KAPLAN he was engaging in. Regardless,

 according to CC-1, ADAM KAPLAN believed that CC-1 was threatening and hurting potential

 victims and witnesses in the grand jury and FBI investigations, as set forth in detail below.

                24.     According to CC-1, ADAM KAPLAN and CC-1 had a code word –

 “Kaboom” – that was used to mean, in sum and substance, scaring and intimidating witnesses and

 victims.   For example, ADAM KAPLAN informed CC-1 that CC-1 should “kaboom” an

 individual that was accusing ADAM KAPLAN of fraud in Florida (the “Florida Victim”). On




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 May 17, 2023, ADAM KAPLAN provided CC-1 with the name of the Florida Victim and the

 Florida Victim’s home and work addresses. CC-1 responded, “I think I have a solution. I will tell

 you in person.” ADAM KAPLAN responded, “He needs to fear.” On May 18, 2023, ADAM

 KAPLAN followed up, stating, “Kaboom is set for tomorrow? For [Florida Victim] too? He must

 be visited in pg7 style. To simply be told to shut up.” CC-1 informed ADAM KAPLAN that

 “Both pg and kaboom are scheduled.” And ADAM KAPLAN responded, “Thank you for

 scheduling both PG & Kaboom”.

                 25.     According to CC-1, ADAM KAPLAN understood that the civil litigation

 by victims against him in Nassau County could influence the FBI and grand jury investigations,

 and therefore ADAM KAPLAN repeatedly told CC-1 to intimidate the victims in the Nassau

 County civil litigations. For example, on May 18, 2023, ADAM KAPLAN asked CC-1, “What’s

 the status of Nassau County?” CC-1, among other things, replied, “I feel we can make both go

 away in short order[.] One more threat should do it.” (emphasis added). Later, CC-1 texted,

 “There’s a new date on the case in Nassau. Status 05/25-second 05/30. I will do my best to blow

 up [Victim-1]/[Victim-2] by next Thursday. The more they are opposites the better it is.”

                 26.     Later that same day, May 18, 2023,8 ADAM KAPLAN again texted CC-1,

 “For Kaboom Tomorrow.” And followed up with the Florida Victim’s cellphone number. ADAM

 KAPLAN also texted the name and number of Victim-3. CC-1 responded, “Yes sir plus I’m

 calling with AI [artificial intelligence]”.



                 7
                      According to CC-1, “PG” meant “Parental Guidance,” which indicated that
 there would be no physical harm, just threats, such as through text messages.
                 8
                       The exact time the text messages from the extraction of CC-1’s cellular
 device is being reviewed by law enforcement and is approximate (likely within four hours).




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                27.     And in that same exchange on May 18, 2023, ADAM KAPLAN wrote,

 “Make it happen captain[.] Eric9 wants at least 1 of the 7 plaintiffs to withdraw as a plaintiff before

 5/25”. CC-1 responded, “Ok[.] We will work on it.” And ADAM KAPLAN responded, “Yes.

 With one peeing blood / missing teeth and another visited / scared – should be easy[.]”

 (emphasis added).

                28.     According to CC-1, ADAM KAPLAN meant for CC-1 to intimidate,

 threaten, and injure the victims in the Nassau County litigation – who were also victims of ADAM

 KAPLAN’s fraudulent scheme that ADAM KAPLAN knew was being investigated by FBI and

 the grand jury – so that the victims would drop their civil litigation.

                29.     Again, that same day, CC-1 and ADAM KAPLAN then engaged in the

 following exchange:

        CC-1:           Done done and done. This weekend they are both being visited. Big
                        weekend all the way around.
        AK:             xoxoxo
        CC-1:           [heart emoji]
        AK:             [heart]

                30.     And shortly thereafter, ADAM KAPLAN again stated that, “[Florida

 Victim] should be visited tomorrow on Friday at 7pm at the [location] to be told ‘no more

 questions’”. After conversing about another subject, ADAM KAPLAN wrote, “And ok re 7pm

 tmrw?” After an exchange about CC-1 borrowing money, CC-1 answered ADAM KAPLAN’s

 question – “I don’t feel good about it but I will have it done. I don’t know if it’s exactly 7. I told

 him Friday.” ADAM KAPLAN answered, “It must be done. Trust me. 5/6/7pm is time window.


                9
                        CC-1 informed the government that “Eric” referred to one of ADAM
 KAPLAN’s attorneys.




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 7pm ideal.” CC-1 answered, “He better be alone because if someone in house calls 911 we are

 fucked. Florida isn’t New York and these aren’t my guys.” (emphasis added). ADAM KAPLAN

 replied, “Understood. Nothing wrong with verbally delivering a message. A messenger with a

 verbal telegram.”

                31.     Despite ADAM KAPLAN’s message that there is “[n]othing wrong with

 verbally delivering a message[,]” CC-1 has informed me that he was instructed by ADAM

 KAPLAN to use force to intimidate the Florida Victim. CC-1 informed me that he (CC-1) tricked

 ADAM KAPLAN into believing that CC-1 had associates that could intimidate and injure victims

 and witnesses, and ADAM KAPLAN paid CC-1 to do just that. In fact, later in the exchange,

 ADAM KAPLAN wrote, “I know this guy very well. Fear must be instilled. He has to think that

 there are powerful people who want him to shut up.” CC-1 replied, “He will know.”

                32.     Later in the conversation, ADAM KAPLAN instructed CC-1 that “Dead

 roses dropped off at the front door with a card ‘no more questions’ is actually perfect.” CC-1 and

 ADAM KAPLAN decided that “black roses” would work best. CC-1 informed me that black roses

 were a symbolic threat.

                33.     On May 19, CC-1 informed ADAM KAPLAN that CC-1 was working

 towards threatening victims and witnesses: “Spoke to kaboom. [Victim-3 and a relative of Victim-

 3, Victim-4] are in play. Florida I will have to do thru robot. He’s going to try again this weekend

 but his normal approach did not work. He is confident of success. He and I are talking again

 Sunday.”10   And “I got a call from Vitas and [Victim-6] is going well. There have been no




                10
                      According to CC-1, CC-1 told ADAM KAPLAN that “Kaboom” and
 “Robot” were enforcers that CC-1 used, hence the code word, “Kaboom”.




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 negative updates and she is less upset daily.” ADAM KAPLAN replied, in part, “Good that 3/4

 are in play. We need to make ground there this weekend before the lawyers fly on Monday. ... The

 4th in FL let’s hit hard. He’s literally making my dad sick. It’s bad. ... I also want to see the ☠️...

 can kaboom send one here to this #?”

                34.     According to CC-1, the “3/4” are the three victims and witnesses that CC-1

 was supposed to threaten on behalf of ADAM KAPLAN, and according to CC-1, the “☠️” was

 ADAM KAPLAN asking to see the image that CC-1 was planning to send to Florida Victim to

 threaten Florida Victim. CC-1 responded, “According to Vitas. She is completely chilled. Have

 a great night. I’m watching top gun maverick” 11 On May 20, 2023, CC-1 informed ADAM

 KAPLAN, “I’m going to take care of florida personally this week. Promise.”

                35.     On May 20, 2023, ADAM KAPLAN wrote CC-1, “Re Kaboom - I think to

 fry [Victim-3’s] entire phone should be done. I want all texts gone and to spook the person who

 was rude to [the Rabbi].” According to CC-1, an individual made a phone call to [the Rabbi] on

 behalf of Victim-3, and ADAM KAPLAN was asking to “fry” Victim-3’s phone as a warning and

 to delete evidence. CC-1 responded, in part, “Fone fry on Sunday!!”

                36.     On May 21, 2023, CC-1 sent ADAM KAPLAN an image of what CC-1 told

 ADAM KAPLAN was sent to three separate victims (“This was sent too [sic] all 3 40 times per

 hour for 8 straight hours”. The image appears below in Figure-3.




                11
                       According to CC-1, CC-1 told ADAM KAPLAN that “Vitas” was an
 individual that CC-1 used to trick Victim-6 into believing that ADAM KAPLAN did not defraud
 Victim-6.




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                                                  ii
                                fll)P ~l<ING fJUEfl/ON!
                                      YOU 1/Nf Sl/TJWS /fOT YOURS


                                               Figure-3

               37.     According to CC-1, the image was meant to threaten and intimidate the

 victims.

               38.     CC-1 also sent ADAM KAPLAN an image of what was purportedly sent to

 Florida Victim, below in Figure-4.




                                nrJP A~l<ING OU£S1/0N~

                                               Figure-4

               39.     According to CC-1, in addition to the threatening skull-and-bones imagery

 in Figure-4, there would be a “phone call from robot and then black roses on Tuesday.” And

 another victim, Victim-5, would be receiving a “wake up elbow today.”

               40.     In response, ADAM KAPLAN wrote, in part: “The skull to all 3 at 40 times

 over 8 hours - what day was that on? They indeed have shit that does not belong to them. I like




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 the sound of a wake up blow. Let’s rock n’ roll with [Florida Victim] tomorrow. I am curious to

 hear about all avenues of attack.” ADAM KAPLAN also disagreed with any possible delay in

 threatening the victims; ADAM KAPLAN stated, “I obviously don’t at all understand why he

 [“G”, another purported associate of CC-1]12 would tell you to delay. I need details here.” CC-1

 responded, “You absolutely trying to get this done our way instead of the legal way so that

 it’s invisible for you.” (emphasis added). CC-1 also wrote that the “phone attack to all three was

 done yesterday.” CC-1 stated that, of all the victims, only Victim-3 was able to block the skull

 and crossbones imagery. ADAM KAPLAN responded, in relevant part, “It makes sense for G to

 speak today and for you (plus extra muscle) to visit tomorrow. Yes. I am hopefully that G will

 achieve full resolution today. . . . Re [Victim-3] - put her phone on fire. Let her block that.

 Seriously, please blow it up.” (emphasis added). CC-1 responded, in part, “I just left kaboom a

 message for a second blow up asap.” CC-1 also implored ADAM KAPLAN to be patient. ADAM

 KAPLAN responded, “I have never lost patience and never will. I paid G a lot of money so

 naturally expect at the very minimum for him to deliver on something. I am embarrassed that I


                12
                        According to CC-1, CC-1 informed ADAM KAPLAN that “G” had the
 ability to manipulate internet search results and hide from the public that ADAM KAPLAN was
 charged by the SEC. ADAM KAPLAN also believed that he (ADAM KAPLAN) paid “G” to
 steal emails from a lawyer that ADAM KAPLAN and DANIEL KAPAN were engaged in
 litigation with. By May 21, 2023, ADAM KAPLAN was upset that “G” had not found any
 results:

                “I didn’t get anything from G to help re [Lawyer-1] scenario which
                is about to go very public. We have to respond before 6/5 so motions
                and other suits will fly well before then. I didn’t get any ammunition
                to use here. It can’t be that there are no emails between [Lawyer-2]
                and [Lawyer-1]. Can we see her emails? [email address] & cell: [cell
                number].”

              On several occasions, ADAM KAPLAN wrote CC-1 asking him for updates about
 what “G” could find regarding emails or texts between lawyers.




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 can’t show Eric13 or anyone any result on anything (yet). But... between (1) [Florida Victim] who

 I will hear about immediately from his mom, (2) the emails appearing this week, (3) search engines

 this week, (4) property retrieval or equivalent this week, & (5) maybe 1 or 2 of 7 Nassaus dropping

 - I will feel wonderfully.”

                41.     In a later exchange on May 21, 2023, CC-1 informed ADAM KAPLAN that

 an individual from CC-1’s community died from an overdose, and that the individual’s grandfather

 died upon hearing the news. ADAM KAPLAN responded, in part, “(Re [Florida Victim] - I don’t

 want him to cause my dad to have a reaction like that grandfather).” CC-1 responded that he would

 have Florida Victim “chilled out” and ADAM KAPLAN responded, “Chilling him out will be

 effective.” Then, CC-1 and ADAM KAPLAN engaged in the following conversation:

                CC-1:          I hope so. I don’t want it to need to go further. My priority
                               is always you but he’s still a frum guy and your family.

                AK:            He’s a piece of shit trying to cause me harm for his own
                               greedy aspirations and has no reservation in killing my father
                               to squeeze a buck out of his mom.

                CC-1:          Then we will treat him as if he’s NOT family.

                42.     Then CC-1 and ADAM KAPLAN discussed, again, sending black roses and

 sending verbal threats to Florida Victim. And ADAM KAPLAN provided the home and office

 addresses for Florida Victim. CC-1 also provided proof that he sent a text to Florida Victim, below

 in Figure-5.




                13
                        As stated above, CC-1 informed me that this was one of ADAM KAPLAN’s
 attorneys.



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                                              5/22/23




                                                  NO MORE QUESTIONS!!!!

                             ????




                                            Figure-5

               43.     On May 22, 2023, CC-1 informed ADAM KAPLAN that “Kaboom hitting

 [Victim-3] again tonight. She just activated a new one.” According to CC-1, in this message, CC-

 1 told ADAM KAPLAN that “Kaboom” was again going to target Victim-3’s cell phone.

               44.     On May 23, 2023, CC-1 provided proof that CC-1 again texted Florida

 Victim the threatening image, with another text, “YOU ARE PISSING OFF THE WRONG

 PEOPLE”. And on July 18, 2023, ADAM KAPLAN again texted CC-1, in part, “Adding only 1

 little thing to your already full plate: someone has to physically say good shabbos to [Florida

 Victim]. Seriously.” CC-1 responded, “Be my pleasure[.] I’m in a pissed off mood anyway. Lol.”

 ADAM KAPLAN responded, “Lol. Gotta take out your anger and frustration somewhere. Please

 do.”14


               14
                      According to CC-1, CC-1 also told ADAM KAPLAN (falsely) that CC-1
 was connected to certain publicly known mobsters, including one that is referred to in the text
 messages I have reviewed as “Junior”. According to CC-1, ADAM KAPLAN told CC-1 to use



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               45.    ADAM KAPLAN also directed CC-1 to pay off victims who had

 complained about being defrauded, and CC-1 did so at ADAM KAPLAN’s direction. For

 example, on June 7, 2023, CC-1 texted ADAM KAPLAN a screenshot of an email from Victim-

 7, who was inquiring about the return of her funds by June 11, 2023. CC-1 also forwarded ADAM

 KAPLAN his response, which was that Victim-7 would be paid back, in sum and substance, the

 next day. Those emails are below in Figure-6.15




                                            Figure-6

               46.    ADAM KAPLAN responded to CC-1 that he had spoken to Victim-7 earlier

 in the week and told Victim-7 that payment would likely be on June 13, 2023. ADAM KAPLAN

 also told CC-1 that Victim-7 was to receive a 25% return on her investment. According to CC-1,




 “Junior” to “hurt” and “scare” another victim who I know to live near ADAM KAPLAN, Victim-
 12.
               15
                      Names and email address have been redacted.




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 the funds ultimately sent to Victim-7 did not come from any sales of flowers, because no flowers

 were ever sold, but from money sent to CC-1 and ADAM KAPLAN from other victims.16

            d. ATTEMPTS TO BRIBE LAW ENFORCEMENT AND COURT PERSONNEL
               (PRE-INDICTMENT)

               47.     According to CC-1, ADAM KAPLAN informed CC-1 that ADAM

 KAPLAN had access to individuals that ADAM KAPLAN was paying to provide ADAM

 KAPLAN with information about the status of his case “inside” the Department of Justice (“DOJ”)

 and the Eastern District of New York courthouses. So as to appear “connected,” CC-1 told ADAM

 KAPLAN that he too had access to “inside” information in the DOJ. Thus, CC-1 routinely lied to

 ADAM KAPLAN that CC-1 had inside information as to the status of the criminal investigation

 of the KAPLANS. For example, on April 26, 2023, CC-1 texted ADAM KAPLAN, “I only bring

 good news. You are NOT on the radar today.” According to CC-1, that was a reference to a private

 grand jury calendar that CC-1 had access to. On May 17, 2023, CC-1 texted ADAM KAPLAN,

 in part, “We are going to get good news out of gj today. I have a very good feeling about it.”

 According to CC-1, “gj” was a reference to the grand jury.

               48.     Around June 2023, CC-1 informed ADAM KAPLAN that CC-1 could pay

 a secretary inside the DOJ to provide information about ADAM KAPLAN’s case. On June 9,


               16
                        According to CC-1, ADAM KAPLAN was well aware of all the money
 coming in and out from the fraud scheme. I have reviewed messages showing that ADAM
 KAPLAN routinely instructed CC-1 where to send money. For example, on June 30, 2023,
 ADAM KAPLAN told CC-1 that $10,000 should be sent to Victim-8 (and provided Victim-8’s
 bank routing and account number and home address) and that $7,000 should be sent to ADAM
 KAPLAN. CC-1 replied with a thumbs-up emoji. ADAM KAPLAN replied, “The one to me
 takes priority over the one to [Victim-8], although both are important. So you can do one today
 and one on Monday if you want. Or both today. Or both on Monday. It will pend all day but can
 become available.” I have also reviewed messages showing that ADAM KAPLAN regularly sent
 instructions to CC-1 regarding wires coming in. For example, on June 6, 2023, ADAM KAPLAN
 said for “6/30” that “17 you’ll keep as of 7/11”.




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 2023, CC-1 texted ADAM KAPLAN, “Guta morgen. The meeting this morning was extremely

 interesting. For the right price we can own her. I just don’t know what that is. I’m meeting her

 again Monday if we decide it’s the right move.” According to CC-1, “[f]or the right price we can

 own her” meant that CC-1 could pay the DOJ insider for information. According to CC-1, ADAM

 KAPLAN sent CC-1 cash to pay the DOJ insider, but CC-1 used the money for himself because

 the DOJ insider did not exist. Regardless, according to CC-1, ADAM KAPLAN was willing to

 and did pay bribes for what he believed was inside information from employees at the DOJ.

                49.        According to CC-1, CC-1 also told ADAM KAPLAN that CC-1 had access

 to other individuals inside DOJ, including “Chief Joseph,” a supposed chief in a criminal section

 at USAO-EDNY. On June 9, 2023, CC-1 texted ADAM KAPLAN, “Btw I’m seeing Joseph from

 Long Island on Sunday. Chief Joseph!!” According to CC-1, CC-1 would use these purported

 “connections” to insiders at DOJ to solicit funds from ADAM KAPLAN when CC-1 was desperate

 for money. According to CC-1, ADAM KAPLAN believed that CC-1 had access to insiders, and

 ADAM KAPLAN paid CC-1 to bribe those insiders for information about his criminal case, and

 to attempt to bribe prosecutors to not bring any federal indictment. On June 9, 2023, ADAM

 KAPLAN texted CC-1, “I like the move with this lady”. According to CC-1, the “lady” was one

 of the insiders at DOJ.

                50.        According to CC-1, CC-1 concocted a story that CC-1 told to ADAM

 KAPLAN whereby “Chief Joseph” (this individual does not exist nor work at USAO-EDNY), was

 in debt from gambling and was amenable to being paid to force any prosecutor to not bring charges

 against the KAPLANS. The text messages from CC-1 to ADAM KAPLAN routinely refer to

 “Chief Joseph” and his purported gambling debts. For example, on June 9, 2023, “CJ [Chief

 Joseph] called me[.] He’s hungry to get out of debt”.




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                51.     After ADAM KAPLAN and CC-1 learned about the identity of one of the

 EDNY prosecutors on the case, CC-1 texted ADAM KAPLAN, “35...[the prosecutor’s] a fucking

 kid. We are going to bury him. Not literally.” CC-1 and ADAM KAPLAN discussed gathering

 intelligence on the USAO-EDNY prosecutors in this case. CC-1 also told ADAM KAPLAN that

 CC-1 would check for intelligence from “the girl” and “chief”. ADAM KAPLAN replied,

 “Excellent”. On June 10, 2023, CC-1 texted that CC-1 was still looking into the SEC case, but

 “first we get the edny resolution!!” According to CC-1, CC-1 told ADAM KAPLAN that CC-1

 was working with “Chief” to have the EDNY case dropped before indictment, which ADAM

 KAPLAN paid CC-1 to do.

                52.     On June 10, 2023, CC-1 told ADAM KAPLAN, “Btw he [an EDNY

 prosecutor] might be green and an idiot but we aren’t going to let it even get to grand jury!! That’s

 the solution. I absolutely know in my heart...cHIEF [sic] is the key!!! I hope and pray he’s in

 maximum debt! I just heard. I’m picking up the paperwork tomorrow. He bet 1mm with fan duel

 and lost 200k. I’ve got feelers out to the boys to see how much he owes the bad boys. HERE WE

 GO”.

                53.     According to CC-1, what CC-1 was relaying to ADAM KAPLAN in this

 message was that CC-1 was going to use “Chief Joseph’s” gambling debts to bribe Chief Joseph

 into forcing EDNY prosecutors to not bring ADAM KAPLAN and DANIEL KAPLAN’s case to

 a grand jury for indictment. Although Chief Joseph did not exist, according to CC-1, ADAM

 KAPLAN was unaware of this, and was paying CC-1 to bribe Chief Joseph accordingly.

                54.     In a later message, ADAM KAPLAN told CC-1 that he was stressed. CC-

 1 replied, “Stop stressing. Not allowed. I promise as of Monday we are knocking out the criminal

 side. Please trust me”. ADAM KAPLAN replied, “I believe you & trust you!!”




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                 55.    CC-1 repeatedly texted ADAM KAPLAN that CC-1 was meeting with

 “Chief” or the “girl” (the DOJ insider) or finding ways to bribe them. For example, on June 12,

 2023, after again discussing one of the EDNY prosecutors on the case, CC-1 stated, “I’m tracking

 down people chief owes mula too.” And then later, “I found his [Chief’s] bookie[.] I’m waiting

 for his call now”. And then, “I just found out a ton of info bout chief. Great talk. Lots of info in

 our favor.”17

                 56.    Again, on June 15, 2023, CC-1 texted ADAM KAPLAN, “The girl

 confirmed you are NOT on the list any longer”. And later that same day, “Double confirmed[.]

 Off GJ list.” The next day, June 16, 2023, CC-1 wrote ADAM KAPLAN, “We will come out

 okay. Watch, the right person was paid.” According to CC-1, CC-1 lied to ADAM KAPLAN and

 told him that money ADAM KAPLAN sent to CC-1 was sent to “Chief” and the “girl” so that

 ADAM KAPLAN and DANIEL KAPLAN would not be indicted.

                 57.    CC-1 also told ADAM KAPLAN that CC-1 paid “Chief” and others on

 ADAM KAPLAN’s behalf. For example, on July 16, 2023, CC-1 texted ADAM KAPLAN, “You

 got it and please update me on my money I layed out to chief. I just need to know so I can tell my

 SIL.” According to CC-1, CC-1 told ADAM KAPLAN that CC-1 sent “Chief” a significant

 amount of money on ADAM KAPLAN’s behalf, and CC-1 wanted ADAM KAPLAN to repay it

 to CC-1. According to CC-1, CC-1 did not in fact pay “Chief” because that person does not exist.




                 17
                         CC-1 informed me that CC-1 searched the internet for information about
 the Eastern District of New York and a prosecutor on ADAM KAPLAN’s case. For example, CC-
 1 told ADAM KAPLAN, “We need to meet tomorrow sometime between one and three because
 he’s a Cadman Plaza tomorrow and I’m meeting him. He gets off after five.” According to CC-1,
 CC-1 informed ADAM KAPLAN that CC-1 was going to Cadman Plaza to meet with “Chief”;
 according to CC-1, CC-1 used the internet to learn that EDNY was associated with Cadman Plaza.




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 ADAM KAPLAN responded, “All updates next I see you. Monday. I think we shouldn’t text

 about this. You get me & we both know what do.” (emphasis added). According to CC-1, ADAM

 KAPLAN did not want to text about bribing government officials because he understood that it

 was illegal.18

                  58.   On June 6, 2023, ADAM KAPLAN instructed CC-1 to send a $100,000

 invoice to one of ADAM KAPLAN’s attorneys for the illegal bribery and other actions that CC-1

 purportedly performed on ADAM KAPLAN’s behalf. CC-1 sent ADAM KAPLAN an image of

 the proposed invoice, which was for “PERSONAL SERVICES RENDERED TO ADAM

 KAPLAN THROUGH 07/01/2023”.

                  59.   CC-1 informed me that ADAM KAPLAN provided CC-1 cash, in secret, to

 further bribe government officials. For example, in June 2023, ADAM KAPLAN had a legal

 assistant (unknowingly) provide CC-1 a box of chocolates with thousands of dollars of cash hidden

 in it. This is corroborated by text messages. On June 6, 2023, when ADAM KAPLAN texted CC-

 1 about splitting certain funds, ADAM KAPLAN wrote, “Chocolate box excluded”. According

 to CC-1, that was a reference to the chocolate box with thousands of dollars. CC-1 wrote, in part,




                  18
                          There were many other instances of CC-1 or ADAM KAPLAN referring to
 paying supposed government insiders or collecting information based on those bribes. On June
 21, 2023, CC-1 wrote: “GJ seats on the 27th, your name is NOT on it.” ADAM KAPLAN
 responded: “That’s fantastic news above!” CC-1 wrote: “The girl was happy to call me w update.
 Its amazing what 9500 will do” – according to CC-1, 9500 was a reference to $9,500 that was paid
 to the fictitious insider; that same day, ADAM KAPLAN wrote: “Yes/No answer - Did the girl
 start making her notes etc?” CC-1 responded: “Yes. She and I are scheduled to talk Friday after
 the bosses report from Thursday pm hits her computer. That’s when we say push or wait. I’d
 rather talk about this in person not text. This and the other makes me nervous.” ADAM KAPLAN
 replied: “Hence simply yes/no”; On June 23, 2023, CC-1 wrote: “I told the girl I’d get back with
 her on Monday.” On July 12, 2023, CC-1 wrote: “HR called our girl in today to discuss her
 notes!!!!!!!”




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 “125 plus 7 plus 9500 was the amount before chocolate pickup”. In a later text on June 7, 2023,

 when discussing cash payments and what CC-1 and ADAM KAPLAN were each owed, ADAM

 KAPLAN texted, in part “9.5K (chocolate box)”.

            e. ADAM KAPLAN’S CREDIT CARD FRAUD

                60.     During the conspiracy with ADAM KAPLAN, CC-1 worked at a company

 that provided moving services. ADAM KAPLAN routinely instructed CC-1 to “run” (charge)

 credit cards from CC-1’s moving company for services that were never rendered. ADAM

 KAPLAN would then use those funds to pay CC-1 personally, or to transfer funds to CC-1 that

 CC-1 could use for purposes of the conspiracy. In effect, ADAM KAPLAN used his credit cards,

 and the credit cards of others, and thus the funds of credit card companies, to provide cash on hand

 to CC-1 under fraudulent pretenses. Although the credit card companies were led to believe that

 the credit cards were being charged for legitimate business services (moving company services),

 they instead were being used to provide cash for the Ponzi scheme.

                61.     For example, on July 7, 2023, ADAM KAPLAN instructed CC-1, “In

 addition (a thought I like) - you can run my credit card today for 4K if you would like. This was

 3K wire + 4K cc = 7K and then 8K wire on top of that. Lmk.” According to CC-1, ADAM

 KAPLAN told him that he could charge ADAM KAPLAN’s credit card as part of the payment

 owed to CC-1. In a later text, ADAM KAPLAN provided his credit card number.

                62.     According to CC-1, ADAM KAPLAN instructed CC-1 on several

 occasions to create fictitious invoices from the moving company for the purpose of showing proof

 to banks or credit card companies that the invoices were real. I have reviewed copies of those

 fraudulent invoices.




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        C.     ADAM KAPLAN’S POST-INDICTMENT                        CRIMES      AND      OTHER
               VIOLATIONS OF HIS BOND

                     a. Payments and Communications with Victims

                       i.   Violations of the Bond with Respect to Victim-8

                            1. Background

               63.       As part of his release, the Court prohibited ADAM KAPLAN from having

 any contact with his “victims” or “witnesses” (Exhibit 1). Victim-8 was another client of the

 KAPLANS at the Financial Services Firm. Victim-8 met the KAPLANS at the Harvard Club, and

 the KAPLANS told him that they had MBAs from Harvard, which was a lie. Victim-8 informed

 me that he sent approximately $235,000 to the KAPLANS for investment purposes. According to

 Victim-8, the KAPLANS controlled those funds, and ADAM KAPLAN would send Victim-8

 funds whenever Victim-8 needed cash to pay for monthly expenses. Victim-8 believed, based on

 what ADAM KAPLAN told him, that ADAM KAPLAN was sending Victim-8 funds from Victim-

 8’s investment account. According to Victim-8, Victim-8 sent checks to ADAM KAPLAN for

 advisory fees. According to Victim-8, Victim-8 was supposed to have approximately $120,000 in

 an IRA. In January 2024, Victim-8 received notification that Victim-8’s IRA had a balance of

 zero dollars. During the course of the scheme in the indictment, Victim-8 and the KAPLANS

 agreed that Victim-8 would be charged 1% advisory fees. This is reflected in text messages that I

 have reviewed. Victim-8 was charged advisory fees much higher than 1%.




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                           2. Post-Indictment Violations of the Bond

                64.     After indictment, the KAPLANS did not inform Victim-8 that they had been

 indicted or that they could no longer serve as Victim-8’s financial advisors.          Until being

 approached by FBI agents in January 2024, Victim-8 believed that the KAPLANS were continuing

 to serve as Victim-8’s financial advisors. In fact, Victim-8 was still requesting money for expenses

 from ADAM KAPLAN and had recently received money from ADAM KAPLAN in December

 2023, well after the Court ordered ADAM KAPLAN to refrain from having contact with the

 victims or providing financial services for anyone.

                65.     I have reviewed text messages between Victim-8 and ADAM KAPLAN and

 DANIEL KAPLAN where Victim-8 chastises the KAPLANS for stealing from Victim-8 account,

 including in August 2023. In September 2023, again, after indictment and in violation of his bond,

 ADAM KAPLAN confirmed by text that he sent Victim-8 additional funds. In November 2023,

 Victim-8 instructs ADAM KAPLAN to take a fee from Victim-8’s American Express card.

 ADAM KAPLAN responded, “Ok”.

                66.     At a certain point, according to Victim-8, ADAM KAPLAN introduced

 Victim-8 to CC-1, who began giving money to Victim-8 on ADAM KAPLAN’s behalf. ADAM

 KAPLAN, using CC-1, also attempted to convince Victim-8 that Victim-8 was bankrupt because

 of debt, and that Victim-8 should do a reverse mortgage on Victim-8’s apartment. An appraiser

 was sent to Victim-8’s apartment; I have reviewed a copy of the appraisal, which ADAM

 KAPLAN sent to CC-1 in a message. I have also reviewed many messages between ADAM

 KAPLAN and CC-1 discussing the reverse mortgage for Victim-8. ADAM KAPLAN also asked




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 Victim-8 what assets Victim-8 had.19 Victim-8, after speaking to law enforcement agents, did not

 go through with the reverse mortgage.

                      ii. Violations of the Bond with Respect to Victim-9 and Victim-10

                67.      Despite being indicted and then released on bond, and promising to not

 commit other crimes, ADAM KAPLAN was not at all deterred by his indictment. After ADAM

 KAPLAN was indicted, he continued to use CC-1 to pay off victims. According to CC-1, ADAM

 KAPLAN paid off victims so that they would not speak to law enforcement agents or participate

 in the investigation against him.

                68.      For example, CC-1 informed me that ADAM KAPLAN owed Victim-9 and

 Victim-10 thousands of dollars, and Victim-9 was threatening ADAM KAPLAN that Victim-9

 would speak to law enforcement. On August 17, 2023, ADAM KAPLAN instructed CC-1 to send

 $18,000 (along with wire instructions) to Victim-9 (a family member of Victim-10). ADAM

 KAPLAN told CC-1 that “To stress - it is needed more than oxygen.”

                69.      ADAM KAPLAN also instructed CC-1 to talk to victims, including Victim-

 9 and Victim-10, on his behalf because ADAM KAPLAN knew that he was not permitted to talk

 to his victims and was attempting to evade the Court’s clear directive. CC-1 routinely served as a

 messenger between victims and ADAM KAPLAN. For example, ADAM KAPLAN told CC-1 to

 “call [Victim-9] this morning to say that the rest is coming in another day or two.” ADAM

 KAPLAN also sent a phone number to CC-1. “Simply say that you are [CC-1] and are working

 on sending the 18K to [Victim-9] but it hasn’t cleared yet even though should have today so will




                19
                       Victim-8 also told me that in January 2024, ADAM KAPLAN’s father
 called Victim-8 and asked Victim-8 about the value of certain of Victim-8’s assets.




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 be another day or two by Monday which is two business days away. Leave [Victim-9] with your

 number to be in touch with any questions. Say same for [Victim-10] too.” On August 18, 2023,

 ADAM KAPLAN followed up with the bank account information and home address for Victim-

 10, and instructed CC-1 to send funds to Victim-10.

               70.     On August 21, 2023, when CC-1 was unable to provide the funds to Victim-

 9, ADAM KAPLAN met with CC-1 in person and provided the funds to CC-1. According to CC-

 1, ADAM KAPLAN instructed CC-1 to go into a Wells Fargo bank branch to collect funds.

 According to CC-1, ADAM KAPLAN avoided going inside the branch so he would not be seen

 by bank cameras. The text messages corroborate that ADAM KAPLAN met CC-1 in person: (CC-

 1: “I’m here on east 76th in my car.” ADAM KAPLAN: “Parking now.” CC-1: “I’m right across

 the street” ADAM KAPLAN: “I’ll come to you”.) After that exchange, and after Victim-9

 received funds, CC-1 texted ADAM KAPLAN, “You saved the day.” ADAM KAPLAN stated,

 “Together we did.”

               71.     On August 29, 2023, ADAM KAPLAN instructed CC-1 to send funds to

 Victim-10. When CC-1 had issues getting money to Victim-10, ADAM KAPLAN stated, “I also

 don’t need extra unnecessary communications with people. Please close this.” When issues arose

 with providing CC-1 the funds, CC-1 relayed by text to ADAM KAPLAN what CC-1 was texting

 Victim-10.

               72.     On September 19, 2023, ADAM KAPLAN again told CC-1 that Victim-10

 needed to be paid: (“Under no circumstance can [Victim-10] bounce. That would be a catastrophe

 of biblical proportion.”). Ultimately, CC-1 and ADAM KAPLAN provided Victim-10 with a

 certified check for the amount owed to Victim-10.




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                  iii. Violations of the Bond with Respect to Victim-11

                           1. Background

               73.     According to Victim-11, Victim-11 has known the KAPLANS since 2017

 and has used the KAPLANS as investment advisors. And as with other victims that I have spoken

 to, Victim-11 informed me that the KAPLANS defrauded Victim-11 through fraudulent

 “KAPLAN SALE” charges in Victim-11’s accounts. Around the time the KAPLANS were fired

 from the Financial Services Firm, Victim-11 sent several emails to employees of the Financial

 Services Firm explaining how the KAPLANS defrauded Victim-11, including through

 unauthorized withdrawals for thousands of dollars and inflated advisory fees.

               74.     However, according to Victim-11, after communicating with employees of

 the Financial Services Firm, in or around December 2021, ADAM KAPLAN paid Victim-11

 approximately $7,000. Then, in March 2022, ADAM KAPLAN met with Victim-11 in person.

 At ADAM KAPLAN’s direction, Victim-11 recanted any claim that the KAPLANS defrauded

 Victim-11. Victim-11 stated that Victim-11 was owed no refund and that the KAPLANS did not

 do anything wrong. When I spoke to Victim-11, Victim-11 informed me that Victim-11 sent these

 emails at the direction of ADAM KAPLAN. I know, based on my knowledge of the investigation,

 that when the KAPLANS were employed at a previous financial services firm, Victim-11 was

 instructed by ADAM KAPLAN to sign a separate letter written by ADAM KAPLAN that also

 “exonerated” ADAM KAPLAN. I have reviewed that letter, which was dated March 23, 2018.

 According to Victim-11, for some of the emails that were sent to the Financial Services Firm,

 ADAM KAPLAN instructed Victim-11 to write them; for others, ADAM KAPLAN wrote them,

 and Victim-11 was unaware how Victim-11’s signature was on those emails.




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                          2. Post-Indictment Violations of the Bond

               75.    I know, based on my knowledge of the investigation, including

 conversations with Victim-11, that ADAM KAPLAN has continued communicating with Victim-

 11 since indictment. I have reviewed text-based communications between ADAM KAPLAN and

 Victim-11. CC-1 has informed me that ADAM KAPLAN instructed CC-1 to pay Victim-11 to

 keep Victim-11 happy so that Victim-11 would not assist law enforcement in the Kaplan

 investigation. And I have reviewed payments made post-indictment from CC-1 to Victim-11.

               76.    For example, on October 5, 2023, ADAM KAPLAN texted CC-1, “I just

 sent [Victim-11] a text.” On October 6, 2023, ADAM KAPLAN texted CC-1, “Your texts are

 amazing to wake up to so thank you. [Victim-11] will call me at 12pm noon.”

               77.    On October 10, 2023, ADAM KAPLAN arranged for Victim-11 to send

 additional funds to CC-1 because CC-1 was in need of funds. CC-1 asked ADAM KAPLAN, “I

 never asked why does he think he’s sending it to me”. According to CC-1, CC-1 was asking

 ADAM KAPLAN what the false reason was why CC-1 needed money from Victim-11. ADAM

 KAPLAN told CC-1, “What you told him last Thursday. He thinks you need help finishing

 one of your moves (assuming a move of flowers I bet).”20 (emphasis added).

               78.    On November 28, 2023, ADAM KAPLAN texted CC-1, in part, that

 “[Victim-11] gets paid from his tv show on Friday, is there opportunity for him?” According to

 CC-1, the “opportunity” was a false investment opportunity that ADAM KAPLAN presented to




               20
                       It is clear from the text messages between ADAM KAPLAN and CC-1 that
 ADAM KAPLAN was separately speaking to Victim-11; ADAM KAPLAN consistently texted
 CC-1 information that must have been provided to ADAM KAPLAN by Victim-11. For example,
 on October 12, 2023, ADAM KAPLAN texted CC-1 that “[Victim-11] is calling PayPal again.”




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 Victim-11. On December 4, 2023, CC-1 texted ADAM KAPLAN that “[Victim-11] just sent

 240.00”. CC-1 texted ADAM KAPLAN, “Zelle to you 240” and ADAM KAPLAN said, “Yes”.

 On December 8, 2023, ADAM KAPLAN provided the phone number for Victim-11 to CC-1 and

 reminded CC-1 that he had “zelled to him before”. CC-1 wrote, “I just Venmo him back” and

 ADAM KAPLAN wrote, “Yes[.] Thanks.”

               79.     On several occasions, ADAM KAPLAN instructed CC-1 to send funds to

 Victim-11 because, according to CC-1, ADAM KAPLAN informed CC-1 that Victim-11 was

 cooperating with the FBI, and ADAM KAPLAN wanted to keep Victim-11 “happy”. According

 to CC-1, CC-1 sent funds to Victim-11 on behalf of ADAM KAPLAN.

               80.     On January 13, 2024, CC-1 texted ADAM KAPLAN, “[Victim-11] is

 texting me. Anything I need to know[?]” CC-1 also attached a screenshot of the message from

 Victim-11, where Victim-11 stated, in part, “Adam told me to hit you up over the next few days if

 I needed anything that that [sic] he’s given you to the go ahead to Venmo me again. If so, would

 I be able to get another $75 by any chance?” CC-1 texted ADAM KAPLAN that he sent Victim-

 11 $75. On January 16, 2024, CC-1 wrote, “[Victim-11] needs more money…yes?” ADAM

 KAPLAN responded, “How much? Yes.” According to CC-1, ADAM KAPLAN directed CC-1

 to pay Victim-11.21




               21
                      CC-1 has regularly spoken to Victim-11 on ADAM KAPLAN’s behalf.
 For example, on January 22, 2024, CC-1 again sent Victim-11 funds ($150) and updated ADAM
 KAPLAN as to that fact. On January 26, 2024, CC-1 again spoke to Victim-11 on ADAM
 KAPLAN’s behalf and sent Victim-11 another $100. CC-1 was asked to speak to Victim-11 on
 ADAM KAPLAN’s behalf even for mundane subjects. For example, on March 3, 2024, ADAM
 KAPLAN told CC-1, “It’s [Victim-11’s] birthday tomorrow. Please wish him a happy bday from
 me!”




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                81.    On several additional occasions, CC-1 and ADAM KAPLAN discussed

 paying Victim-11 in some capacity, either through credit cards or otherwise. According to CC-1,

 Victim-11 also invested in the fraudulent flower business. This is corroborated by a message from

 Victim-11 to CC-1, which CC-1 sent to ADAM KAPLAN on February 2, 2024. In this message,

 Victim-11 writes that CC-1 would use “the flower money that I contributed a while back” to cover

 additional expenses. As stated above, the flower-selling “business” was entirely fraudulent.

                82.    According to CC-1, ADAM KAPLAN instructed CC-1 to keep Victim-11

 “happy” because ADAM KAPLAN knew that Victim-11 had spoken to law enforcement. On

 February 8, 2024, after CC-1 informed ADAM KAPLAN that he paid Victim-11 another $200,

 CC-1 told ADAM KAPLAN the payment was “only to keep your name out of everyone’s mouth”.

                   iv. Violations of the Bond with Respect to Victim-13

                           1. Background

                83.    According to Victim-13, Victim-13 originally met ADAM KAPLAN in

 2020 through a mutual friend. Victim-13 hired ADAM KAPLAN to act as Victim-13’s investment

 advisor. From 2020 to 2021, ADAM KAPLAN managed Victim-13’s investments. According to

 Victim-13, ADAM KAPLAN was charging $250 a month for advisory fees on Victim-13’s credit

 cards. I know, based on my knowledge of the investigation, that those advisory fees were

 fraudulent, as Victim-13 was also being charged advisory fees from the Financial Services Firm.

 Victim-13 did not know that the Financial Services Firm was also charging Victim-13 advisory

 fees.

                84.    According to Victim-13, in 2021, ADAM KAPLAN was debiting

 approximately $350 to $450 a month from Victim-13’s debit card, which ADAM KAPLAN

 informed Victim-13 were being invested in Victim-13’s brokerage account.




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                 85.   In or around July 2021, ADAM KAPLAN told Victim-13 that ADAM

 KAPLAN, along with DANIEL KAPLAN, were starting their own firm and were suing the

 Financial Services Firm for wrongful termination. Victim-13 followed ADAM KAPLAN to the

 new firm. Victim-13 provided ADAM KAPLAN with access to Victim-13’s brokerage and bank

 accounts and Victim-13’s credit card number. ADAM KAPLAN told Victim-13 that Victim-13’s

 money was moved into an “Empower” account.            I know, based on my knowledge of the

 investigation, that none of Victim-13’s money was held at “Empower”.                According to

 representatives from Empower, the company allows individuals to create records of their financial

 status without tying those records to any account; in simple terms, the accounts and statements

 created on Empower are fake.22

                           2. Post-Indictment Conduct

                 86.   According to Victim-13, in or around December 2023, ADAM KAPLAN

 told Victim-13 about an investment in a flower business. ADAM KAPLAN told Victim-13 that

 ADAM KAPLAN had invested $14,000 in the business, and it was a good investment. ADAM

 KAPLAN introduced Victim-13 to CC-1, who was purportedly in the flower-selling business. In

 or around December 2023, Victim-13 sent CC-1 a total of $61,000 to invest in CC-1’s flower-

 selling business. According to CC-1, ADAM KAPLAN knew that the flower-selling business was

 fake and that he had never actually invested $14,000 in the flower business, as he had represented

 to Victim-13.




                 22
                        Empower offers services that allows the user to add accounts either
 connected to actual financial accounts and are confirmed assets or to manually add accounts not
 tied to any assets. The accounts for the victims in this investigation were not tied to any assets.




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                87.    According to Victim-13, around that same period, Victim-13 contacted

 ADAM KAPLAN and told him that Victim-13 wanted to buy a house and needed to withdraw

 money from investments. ADAM KAPLAN provided Victim-13 with the fraudulent Empower

 paperwork showing the “investments,” but ADAM KAPLAN never provided Victim-13 any

 money, and stopped answering Victim-13’s calls. After December 5, 2023, for Victim-13, almost

 all communications regarding ADAM KAPLAN were facilitated through CC-1. Up until this

 point, according to Victim-13, Victim-13 had almost weekly contact with ADAM KAPLAN and

 still believed that ADAM KAPLAN was Victim-13’s financial advisor. ADAM KAPLAN never

 told Victim-13 that he was indicted or that ADAM KAPLAN was not permitted to speak with

 Victim-13 or provide financial services.

                88.    Through CC-1, Victim-13 was paid back approximately $50,000 in cash.

 According to Victim-13, CC-1 told Victim-13 that CC-1 was paying Victim-13 for the flower

 business investment, not for the money that ADAM KAPLAN originally stole from Victim-13.

 CC-1 informed me that he lied to Victim-13 and told Victim-13 that the flower business failed.

                89.    According to Victim-13, CC-1 informed Victim-13 that CC-1, at ADAM

 KAPLAN’s direction, would run credit cards in ADAM KAPLAN’s family-members’ names.

 CC-1 sent images of the credit cards that ADAM KAPLAN sent CC-1. Then, CC-1 took cash and

 brought it to Victim-13. According to Victim-13, ADAM KAPLAN currently owes Victim-13

 approximately $88,000, and Victim-13’s wife approximately $12,000.23




                23
                         Based on a subpoena returns from a financial institution, I know that ADAM
 KAPLAN debited Victim-13’s significant other’s account on July 31, 2023 and August 3, 2023
 (after indictment) for approximately $471.




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                90.     CC-1, and the text messages between CC-1 and ADAM KAPLAN,

 corroborate Victim-13’s information. Although a clear violation of his bond, ADAM KAPLAN

 spoke to Victim-13 on many occasions.

                91.     On February 11, 2024, CC-1 informed ADAM KAPLAN that he would

 “anonymously from staples” send Victim-13 funds. According to CC-1, “He won’t have any way

 to think it couldn’t came from anyone but you.” ADAM KAPLAN responded, in part, “perfect”.

 ADAM KAPLAN then replied with an email address for Victim-13. Several hours later, CC-1

 replied, that the email “via staples” was sent to Victim-13.

                92.     On March 20, 2024, CC-1 informed ADAM KAPLAN that Victim-13 tried

 to call ADAM KAPLAN. ADAM KAPLAN responded, in part, “Where did [Victim-13] try to

 call me? I haven’t heard from him. I’ll call him on Friday. Can you call him back in the interim

 asking him how much cash is needed for his house closing? And say that gladly I’ll ([CC-1]) be

 the intermediary to expedite.” ADAM KAPLAN also asked, “Also when is he [Victim-13]

 closing[?]” CC-1 responded, “Very very soon. I think he needs the whole thing. If that’s a problem

 for you, we can take it out of the certified check. If I remember right what is it about 85,000?”

 According to CC-1, CC-1 was providing investment advice to Victim-13 on behalf of ADAM

 KAPLAN.

                93.     The next day, March 21, 2024, well after indictment, ADAM KAPLAN sent

 CC-1 the following, “To [Victim-13], copy & paste the below. Call or text here with any questions

 about it.”

                Questions: What is the minimum amount needed now? What is the
                ideal amount wanted?

                Option 1: Liquidate. If so, there is a considerable tax consequence
                on gains at the ordinary income tax bracket. Both federally & state.




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               This comes out to about 1/3. Which totally sucks. So it is not
               advised. Also factoring in the individual amount. Not the amount
               for the minor, or retirement for wife (these dollars have an extra 10%
               penalty by regulation to withdraw early before the age of 59.5 which
               is the age of retirement).

               Option 2: Take the cash now collateralized by the portfolio while
               keeping the growth in tact. This method is tax free with an interest
               rate that is substantially less than the potential taxable amount. The
               interest rate falls between 5-7% (much less than a 33% tax rate). So
               it is advised. As such [Individual 4] will call you [Victim-13] at
               around 12pm today (on Thursday) about it.

               [Individual 4] will also present the most sophisticated & cost
               effective tax free option here for cash without collateralizing any
               portfolio. Definitely advised. FYI [Individual 4’s] phone # is
               [PHONE NUMBER]. Another option to consider is to use the hard
               real estate to be lent against. Food for thought.

               All of the above will take approximately 1 week to process and can
               be delivered by wire, ach, or check. Of note, if through [CC-1] then
               it’ll be even more efficient and expedited. Cheers.24

               94.    CC-1 also confirmed in text that CC-1 would send the message to Victim-

 13 in the morning. CC-1 also relayed the response from Victim-13. Victim-13 responded, in part,

 that he wanted a balance of his son’s account that ADAM KAPLAN was supposedly managing.

 ADAM KAPLAN then instructed CC-1, in part, to send Victim-13 a screenshot of certain pages

 that CC-1 sent to Victim-13 the previous month at ADAM KAPLAN’s instruction. According to

 CC-1, ADAM KAPLAN was instructing CC-1 to send Victim-13 fake statements from Empower

 that ADAM KAPLAN created that appeared to show money in accounts in Victim-13’s control –

 over $15,000 in Victim-13’s wife’s account and over $68,000 in Victim-13’s son’s account – but

 the statements were fake, created by ADAM KAPLAN through Empower.


               24
                       ADAM KAPLAN continued to provide financial advice to Victim-13
 through CC-1, including regarding drawing funds from the accounts without tax penalties, and
 liquidating accounts.




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                95.     Despite that ADAM KAPLAN was instructing Victim-13 through CC-1,

 ADAM KAPLAN instructed CC-1, “(Reminder to leave my name off of texts on topic with him)”.

 The next day, CC-1 responded, “Spoke to [Victim-13]. He’s adamant that he needs it all. Sorry.

 I still think [other individuals] pay him and we keep it for us but that’s your decision to make. I’m

 just a grunt. Lol”. ADAM KAPLAN responded, “For [Victim-13]: Ok, as he wants. In process.

 Everything possible is in the works. All of his for sure. Is next Friday good? Did he confirm that?

 What # is he actually looking for? When is the closing date? Noted that he said yesterday not wife

 retirement or the minor. It makes sense for [another individual] to buy him out, especially if at the

 basis value. So the plan is: next Friday [another individual] will buy him out.”

                96.     According to CC-1, ADAM KAPLAN again engaged in credit card fraud

 in an attempt to pay Victim-13 back. ADAM KAPLAN instructed CC-1 to “run” a credit card for

 $4,000, fraudulently stating that it was a payment for moving expenses, collect $4,000 in cash, and

 then pay Victim-13 $4,000. Although CC-1 did run the credit card, he informed me that he instead

 used the money to pay back another individual that CC-1 owed money to. This is also corroborated

 by text messages. On March 29, 2024, ADAM KAPLAN texted CC-1, in part, “Did you already

 pull the 4K from WF earlier today? That will be added to [Victim-13’s] Friday pile. Let me know

 yes or no.” ADAM KAPLAN also wrote, “The way I see it is that we should meet by WF at 8:30.

 Hit cards. Make withdrawal. Then go to [Victim-13].” According, to CC-1, WF referred to “Wells

 Fargo”, and ADAM KAPLAN was instructing that CC-1 and ADAM KAPLAN would meet, run

 credit cards, withdraw money, and provide money to Victim-13 that ADAM KAPLAN owed to

 Victim-13. CC-1 responded, in part, “I gave it to [another individual] it’s all I had.” And ADAM

 KAPLAN responded, in part, “You gave [other individual] my cc that was run for [Victim-13]?!!!!

 Wtf. That’s not cool & changes everything for me. That was done specifically for [Victim-13] and




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 nothing else. You knew that. You told me clearly that you would keep that on the side for [Victim-

 13].” In the ensuing conversation, ADAM KAPLAN and CC-1 discussed that of the money pulled

 from credit cards, some of it was given to ADAM KAPLAN. ADAM KAPLAN knew that when

 CC-1 ran the credit card for his moving company that the charge was not being made for moving

 expenses. It was instead used to facilitate money from ADAM KAPLAN to Victim-13. ADAM

 KAPLAN also knew at the time that he was not supposed to communicate with any of his victims.

 But he still was using CC-1 to communicate with Victim-13 and pay Victim-13.

                97.     ADAM KAPLAN again instructed CC-1 to pay Victim-13 in April 2024.

 For example, on April 2, 2024, ADAM KAPLAN texted, “Plan - (1) Tuesday: At 3:30 See [Victim-

 13] cash. (2) Wednesday: See me. (3) Friday: See [Victim-13] again with more cash after Stripe

 hits & with the paperwork.” According to CC-1, ADAM KAPLAN was instructing CC-1 to bring

 Victim-13 cash on multiple occasions. CC-1 responded, “I’m on this move, with a problem. Can

 we talk at 1?” And ADAM KAPLAN responded, “We can always talk. But there’s nothing to

 really talk about. The plan is clear with no flexibility. (1) Tuesday: I need to hear this afternoon

 that a cash delivery was made to [Victim-13] today. (2) Wednesday: We meet. I give you papers.

 Cash. And bank appt together. (3) Friday: You visit [Victim-13] again with Stripe and Papers.”

 According to CC-1, ADAM KAPLAN was instructing CC-1 to make cash deliveries to Victim-13

 because ADAM KAPLAN owed Victim-13 money, and ADAM KAPLAN knew that he (ADAM

 KAPLAN) was not permitted to speak to Victim-13.

                98.     On multiple occasions, CC-1 asked ADAM KAPLAN to send CC-1 the

 “breakdown” of Victim-13’s accounts that Victim-13 was requesting from CC-1. According to

 CC-1, the “breakdown” was the fraudulent paperwork that ADAM KAPLAN created using free

 tools from Empower. For example, CC-1 texted, “[Victim-13] told me directly that [Victim-13]




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 wants his papers the breakdown why can’t you send it to me right now?” ADAM KAPLAN

 responded, in part, “I’ll give it to you when I see you tomorrow. B/c that is best. Safety. Right?!

 It’s printed. Just why email it if it can be handed to you. Logically. And since we’re getting together

 tomorrow it makes sense.” Based on my training and experience, ADAM KAPLAN did not want

 to email the fraudulent paperwork because he did not want it to be tied to him in any way.

                99.     I have reviewed an audio recording of ADAM KAPLAN providing CC-1

 with Victim-13’s login and password information for Empower so that Victim-13 could review

 the Empower account and see the funds that were in the account. Of course, there were no actual

 funds in the “account”. It was simply a free online tool where any amounts of funds could be

 entered not tied to any assets.

            b. The Continuation of the Fraudulent Flower Business

                100.    The fraud regarding the flower business also did not stop at the time of the

 indictment. As stated above, Victim-11 sent funds to ADAM KAPLAN and CC-1 for a purported

 investment in the flower business post indictment. According to CC-1, ADAM KAPLAN and

 CC-1 continued to solicit and divert funds based on fraudulent investments post indictment.

                101.    As just one example, on December 6, 2023, ADAM KAPLAN texted CC-

 1, in part, “I need you to divert 5K total on Weds/Thurs from the pile which will be closed on

 Friday. 1.5K to [Individual-1] (half of 3K)[,] 2.5K to [Victim-8], 1K to me for [Individual-2]”.25



                25
                        According to CC-1, Individual-1 and Individiual-2 were both owed money
 by ADAM KAPLAN. Based on my current knowledge of the investigation, it is unclear whether
 these were victims of the fraudulent scheme in the indictment. Although Individual-1 threatened
 to “call the police” on ADAM KAPLAN, Individual-1 has refused to speak to law enforcement
 officers, including me. In the same text, ADAM KAPLAN told CC-1 “You go to [Victim-13] at
 1pm. Yes.” According to CC-1, Victim-13 also invested approximately $62,000 in the flower
 business, as discussed above.




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 According to CC-1, consistent with ADAM KAPLAN’s Ponzi-like schemes, ADAM KAPLAN

 was diverting money to Victim-8 and Individuals 1 and 2 from the money that other victims sent

 to CC-1 for alleged investment in the (fraudulent) flower business. On December 7, 2023, CC-1

 sent ADAM KAPLAN a screenshot of a $20,000 deposit being held in CC-1’s bank account. On

 December 12, 2023, ADAM KAPLAN again directed CC-1 to wire funds to Victim-8.26

                102.    On December 21, 2023, CC-1 texted ADAM KAPLAN, “Btw Don’t forget

 vday. Wire comes in we need to cover some invoices and make mula.” According to CC-1,

 although there was no legitimate flower-selling business, ADAM KAPLAN and CC-1 informed

 potential investors that Valentines Day was an important day for CC-1’s flower selling business,

 and would fraudulently solicit funds from victims to fund the fraudulent business.

                103.    On December 30, 2023, ADAM KAPLAN wrote to CC-1 in a text message

 that I have reviewed, “We have a problem. [Flower Victim-1] made a big mistake today. He called

 Eric27 this afternoon. I’m now being read the riot act to shut this all down immediately. Bad. I also



                26
                       ADAM KAPLAN regularly provided CC-1 with messages to send to people
 that ADAM KAPLAN owed money to. For example, on December 12, 2023, ADAM KAPLAN
 sent the following message to CC-1:

                “[Individual-3], good morning. [CC-1] here. All contact must
                go to me. Not Adam. It’s all on me. He has nothing to do with
                business any more. You may conduct business with me but not
                with him. Please refrain from involving our friend any further,
                especially at this pivotal moment in his life for which we all
                must come together to love and support him as he would surely do
                with loyalty for any of us. If you have something to say to Adam
                please contact me. I invite you to come to my office and I will call
                you this morning. Soon after he gets through the unfair hurtles
                Adam will return stronger than ever. But he cannot consult right
                now for his own safety and well-being.”

                 As stated above, CC-1 informed the government that “Eric” referred to one
                27

 of ADAM KAPLAN’s attorneys.



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 get billed for such calls. I can’t have any more business interaction with him.” According to CC-

 1, ADAM KAPLAN was aware that he was not supposed to be involved in any fraudulent

 businesses.

                104.   On January 5, 2024, ADAM KAPLAN texted CC-1, “‘Adam: This

 confirms that Person-B was distributed in excess of $X by me in connection with your consultation

 which is closed. Thank you.’”28 CC-1 wrote, “Got it. I will take care of it.” Later, ADAM

 KAPLAN wrote, “Reminder about email template”.

                105.   CC-1 also admitted that, in or around February and March 2024, at ADAM

 KAPLAN’s direction, CC-1 and ADAM KAPLAN defrauded Victim-16. As described below,

 according to Victim-16, ADAM KAPLAN informed Victim-16 that he would invest their money

 in the market. Ultimately, Victim-16 invested $5,000 with ADAM KAPLAN. According to CC-

 1, ADAM KAPLAN and CC-1 immediately used those funds for personal expenses and to pay off

 debts.

                106.   On February 29, 2024, ADAM KAPLAN sent Victim-16’s contact

 information to CC-1. CC-1 responded, in part, “Didn’t hear back from [Victim-16]”. ADAM

 KAPLAN responded, “Send her a text too…” and wrote a text message for CC-1 to send Victim-

 16: “Hello [Victim-16]. This is [CC-1] trying to reach you about the wire coordinates to [CC-1’s

 business]. Since the second transaction blocked. Please call me back any time for the instructions.

 Thank you.” CC-1 responded, in part, “Text sent.” On March 1, 2024, CC-1 talked to Victim-16

 and relayed the conversation to ADAM KAPLAN. Later that day, CC-1 sent ADAM KAPLAN a




                28
                       ADAM KAPLAN inserted quotation marks around the text.




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 message he received from Victim-16: “Hi [CC-1.] I’ve made a note to follow up on wire transfer

 capacity on Monday. Will keep you posted. Happy Friday :) From [Victim-16].”

                107.    On March 4, 2024, CC-1 wrote ADAM KAPLAN, “[Victim-16] wire IN[.]

 I will wire to you first thing tomotomorrow [sic]”. ADAM KAPLAN responded, “Yay!” The

 next day, ADAM KAPLAN wrote, in part, “Send me the 2.5K (or 2.6K) wire first thing in AM.”

 According to CC-1, $2,500 was ADAM KAPLAN’s share of the money that they stole from

 Victim-16 through fraud. CC-1 provided ADAM KAPLAN with a screenshot of $2,500 being

 wired to ADAM KAPLAN. According to CC-1, none of the money from Victim-16 was used to

 invest.

            c. Continuation of ADAM KAPLAN’s Credit Card Fraud

                108.    After indictment, ADAM KAPLAN continued committing credit card

 fraud. In order to pay back ADAM KAPLAN’s victims who were constantly asking CC-1 for

 funds, CC-1 routinely requested additional funds from ADAM KAPLAN, including on September

 7, 2023. ADAM KAPLAN provided credit card details for ADAM KAPLAN’s father and told

 CC-1 that CC-1 could charge that card $15,000. 29 CC-1 charged the card and told ADAM

 KAPLAN that CC-1 was “only” able to charge $10,000, not $15,000. ADAM KAPLAN

 responded, “Good about 10. In a little bit try another 5. There is room on card, 10 might be a limit

 for remote entry non-chip processing.” ADAM KAPLAN then instructed CC-1 to “[p]ull” an

 additional “5” ($5,000) from a separate credit card in ADAM KAPLAN’s father’s name.30


                29
                       CC-1 did not know whether ADAM KAPLAN had the authority to instruct
 CC-1 to charge that credit card because it was not in ADAM KAPLAN’s name, and CC-1 never
 asked ADAM KAPLAN’s father.
                30
                        Although CC-1 told ADAM KAPLAN that the charges were for “PB,”
 (additional illegal conduct) ADAM KAPLAN and CC-1 agreed that CC-1’s moving company
 would charge ADAM KAPLAN for moving expenses. When ADAM KAPLAN later learned that



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                109.   After CC-1 charged approximately $15,000 on two credit cards, ADAM

 KAPLAN instructed CC-1 to “hit” (charge) another credit card for “3” ($3,000) – this credit card

 was in ADAM KAPLAN’s mother’s name.31

                110.   On September 19, 2023, CC-1 informed ADAM KAPLAN that CC-1

 needed money. ADAM KAPLAN had previously instructed CC-1 to pay back victims, including

 Victim-10. ADAM KAPLAN informed CC-1 that, “You can also use the cc if you really need

 to.” According to CC-1, the “cc” was a credit card that CC-1 would charge as if CC-1 had

 performed moving services for ADAM KAPLAN or his family members even though he never

 provided those services in any capacity.

                111.   According to CC-1, ADAM KAPLAN instructed CC-1 to open an Intuit

 account for a business so that ADAM KAPLAN could use it to “run” (charge) credit cards. At

 ADAM KAPLAN’s instruction, CC-1 opened the account using a credit card in ADAM

 KAPLAN’s father’s name, which CC-1 received from ADAM KAPLAN. After the account was

 open, ADAM KAPLAN instructed CC-1 to charge $3900 to the credit card in the name of ADAM

 KAPLAN’s father and use the name of Victim-13’s wife on a fake invoice that CC-1 created.

 After CC-1 ran the credit card, he went to a bank and took out cash; CC-1 then provided some of

 the cash to ADAM KAPLAN. Generally, when CC-1 provided ADAM KAPLAN funds, he did

 so either in cash (which ADAM KAPLAN and CC-1 called a “mula handoff” in texts) or through



 “PB did not happen” (text September 21, 2023) and that CC-1 had lied about other money-related
 matters (September 26, 2023) ADAM KAPLAN reversed the credit card charges. On October 17,
 2023, ADAM KAPLAN had reversed approximately $18,000 of credit card charges.
                31
                       CC-1 also did not know whether ADAM KAPLAN had the authority to
 instruct CC-1 to charge that credit card because it was not in ADAM KAPLAN’s name, and CC-
 1 never asked ADAM KAPLAN’s mother.




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 Apple Pay. I have reviewed many messages from ADAM KAPLAN to CC-1 where ADAM

 KAPLAN sent an emoji of an apple. According to CC-1, the apple emoji was code for ADAM

 KAPLAN requesting an Apple Pay payment.

               112.   Specifically, on February 23, 2024, CC-1 sent ADAM KAPLAN an image

 of Victim-13’s wife’s (Victim-15) name. That same day, CC-1 sent a screenshot of the $3,900

 ePayment, which, according to the screenshot, was going to be deposited into a Wells Fargo

 account. The invoice was to Victim-15. CC-1 also sent a second ePayment of $1,100, invoiced

 to Victim-15 that same day. ADAM KAPLAN replied with a thumbs-up emoji. On February 26,

 2024, CC-1 sent ADAM KAPLAN screenshotted updates for the invoices, showing the payments

 were to be deposited on February 28, 2024 and February 29, 2024. That same day (February 26,

 2024), at ADAM KAPLAN’s instruction, CC-1 sent another ePayment of $10,000 for an invoice

 to Victim-15. ADAM KAPLAN responded, “Super. Call Soon.” Shortly after, CC-1 followed

 up with, in part. “Apple sent”. ADAM KAPLAN replied, “Got it”. On March 3, 2024, CC-1

 wrote, “I have a little cash on me actually. So when I see you this afternoon I will do a mula

 handoff!!!” None of these were legitimate transactions with Victim-13 or Victim-15.

               113.   When there was an issue with the payments in Victim-15’s name, CC-1

 instructed the service provider to call his “customer,” but, with ADAM KAPLAN’s knowledge,

 provided a phone number that ADAM KAPLAN would answer, even though the apparent

 customer was Victim-15. To be clear, Victim-15 was not a customer of CC-1. On February 29,

 2024, CC-1 texted ADAM KAPLAN, “I checked the message center and it said they will contact

 me after they contact my customer. I can only hope they call you before the days up”. ADAM

 KAPLAN responded, “Noted that they will contact you after the customer. No call into here as of




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 yet. I will have the ringer on loud tomorrow all day.” Shortly thereafter, however, CC-1’s account

 was deactivated for suspicious activity from the service provider.

                114.   After the service provider deactivated the account, CC-1, at ADAM

 KAPLAN’s instruction, activated an account on a separate service provider. On March 3, 2024,

 CC-1 provided a screenshot to ADAM KAPLAN that a $250 invoice was being processed on the

 new service provider. ADAM KAPLAN responded, “Since you know the 250 will hit in a day or

 two, 🍏 over 125 now? Or wait till it hits? Up to you and if you have the availability. Thx. Better

 for me sooner / all good!!” According to CC-1, ADAM KAPLAN was requesting a $125 payment

 on Apple Pay. In part, CC-1 told ADAM KAPLAN, “I have a little cash on me actually. So when

 I see you this afternoon I will do a mula handoff!!!”

                115.   ADAM KAPLAN and CC-1 continued to use credit cards in the name of

 ADAM KAPLAN’s mother and father to pull cash for ADAM KAPLAN and CC-1’s use. For

 example, on March 29, 2024, CC-1 sent ADAM KAPLAN a screenshot showing ADAM

 KAPLAN’s father as the “customer” who paid CC-1 $5,000. That same day, ADAM KAPLAN

 sent photographs by text to CC-1 of the front and back of a credit card in ADAM KAPLAN’s

 father’s name. CC-1 responded showing that CC-1’s company invoiced $5,000 to ADAM

 KAPLAN’s father. ADAM KAPLAN stated that, at that point, $15,000 had been run on those

 credit cards, and another $8,000 would be available on Monday for Victim-13: “Bingo! Amazing

 that the next 5K worked totaling 15K on that card so far & now at least 8K should become available

 for [Victim-13] on Monday.” ADAM KAPLAN knew at that point that CC-1’s moving company

 was not providing any services to him or his parents. Instead, ADAM KAPLAN and CC-1 were

 lying to credit card companies to facilitate money from ADAM KAPLAN’s parents to ADAM

 KAPLAN’s victims. On March 30, 2024, ADAM KAPLAN sent CC-1 another photograph (front



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 and back) of a credit card in ADAM KAPLAN’s father’s name. ADAM KAPLAN stated, “Yes

 we can do the other cc too. See below. Only 5K on this one so as to bring the pile to 13K.”

                116.    Based on subpoenaed records, between March 26, 2024 and April 17, 2024,

 CC-1, at ADAM KAPLAN’s direction, charged $25,000 to ADAM KAPLAN’s father’s credit

 card. On May 7, 2024, ADAM KAPLAN’s father called the credit card company and disputed

 the charges. I have been provided the audio from that call and have reviewed it. ADAM

 KAPLAN’s father is clear on the call that he did not authorize any of the charges, he did not move

 or incur any moving expenses, nor did any member of his family. When asked on the call if any

 family member might be using his credit card, ADAM KAPLAN’s father responded no because

 no children were living at home with him.

                117.    After ADAM KAPLAN’s father disputed the charges, CC-1 was forced to

 return the money to the credit card company. However, the credit card company was not

 completely reimbursed and ultimately lost $1,000. The credit card company has submitted a

 statement of loss to me.32

                118.    According to CC-1, ADAM KAPLAN asked CC-1 to create a fake invoice

 from CC-1’s moving company so that if the credit card companies questioned the transaction,

 ADAM KAPLAN and CC-1 would have proof that the fraudulent transactions were legitimate.

 CC-1 provided me with a fake “moving estimate” from his company from around this period for

 approximately $26,000, purportedly assisting ADAM KAPLAN’s father (whose name was on the




                32
                         During this period, ADAM KAPLAN regularly texted CC-1 during this
 period that his father, whose name was on the credit cards, was in the hospital. For example, on
 March 30, 2024, CC-1 wrote: “Did dad get home” ADAM KAPLAN responded in part: “Next
 week[…]”.




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 used credit cards) moving items from his home address to a storage facility. CC-1 did not actually

 provide any moving services for ADAM KAPLAN or ADAM KAPLAN’s father. However, it

 appears that CC-1 was never asked for proof of services and so never provided the fake moving

 estimate to any third party.

                119.    According to CC-1, in or around April 2024, CC-1 learned that Wells Fargo

 closed CC-1’s account that ADAM KAPLAN had been using to store funds received from the

 credit cards in others’ names that ADAM KAPLAN had run through CC-1’s moving company

 business. On April 3, 2024, ADAM KAPLAN texted, “Next step switch the account# on Intuit to

 a bogus acct# !” On April 4, 2024, ADAM KAPLAN texted CC-1, “In the meantime, there are

 only two tasks that I can think of for today which is (1) To ask [Victim-14] those 4 questions

 above, &, (2) Switch the acct# on Intuit to bullshit... which will then free up extra space - and

 assuming that Stripe arrives on Friday, you’ll for sure want that space for there!” 33 According to

 CC-1, ADAM KAPLAN instructed CC-1 that because the Wells Fargo account was closed,

 ADAM KAPLAN could dispute the previous charges on the credit cards, but the service providers

 would have no bank account to turn to in order to collect their money from. According to CC-1,

 CC-1 refused to allow ADAM KAPLAN to dispute the charges because CC-1 would be liable for

 the funds, which happened on a previous occasion.




                33
                       According to CC-1, ADAM KAPLAN asked CC-1 to speak to Victim-14
 because ADAM KAPLAN owed Victim-14 money, Victim-14 was complaining, and ADAM
 KAPLAN feared that Victim-14 would speak to law enforcement agents. ADAM KAPLAN
 instructed CC-1 to delay giving Victim-14 any reasonable answer to Victim-14’s questions. For
 example, ADAM KAPLAN texted CC-1, in part, “Keep talking [Victim-14] down and around.”
 And “Slow walk [Victim-14] with questions. [Victim-14’s] answers do not suffice.”




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                120.   On April 9, 2024, ADAM KAPLAN again sent CC-1 photographs (front

 and back) of a credit card in ADAM KAPLAN’s father’s name. ADAM KAPLAN instructed CC-

 1 to “run 1,500” off the credit card and to send the money to ADAM KAPLAN. ADAM KAPLAN

 then provided the zip code for the card, and instructed CC-1 to raise the amount to $2,000.

            d. ATTEMPTED BRIBERY OF LAW ENFORCEMENT

                121.   Following indictment and arrest, ADAM KAPLAN continued to attempt to

 bribe law enforcement officers, including “Chief”. For example, on September 12, 2023, ADAM

 KAPLAN texted CC-1, “Hope it’s going well over there. Going well here.” CC-1 responded, “It’s

 going great here. He took the envelope.” According to CC-1, “He” was “Chief”, and CC-1 had

 told ADAM KAPLAN that CC-1 was providing a bribe (cash in an envelope) to Chief so that

 Chief would dismiss the indictment against ADAM KAPLAN and DANIEL KAPLAN. ADAM

 KAPLAN responded, “Goooood”. However, according to CC-1, in October 2023, CC-1 admitted

 to ADAM KAPLAN that CC-1 did not have the connections to dismiss the KAPLAN indictment.

            e. DISREGARDING COURT ORDERS TO REFRAIN FROM EMPLOYMENT
               PERTAINING TO INVESTMENT ADVISEMENT

                122.   Shortly after the KAPLANS were charged by the SEC, ADAM KAPLAN

 engaged CC-1 to create a new website and firm for the KAPLANS to continue providing financial

 advice, “K Twins Advisors”. CC-1 hired a firm (the “Software Firm”) to create a website for the

 KAPLANS. On May 22, 2023, CC-1 informed ADAM KAPLAN that the website would be live

 “today”.

                123.   Even after indictment, CC-1 continued working on the “K Twins Advisors”

 website for ADAM KAPLAN and DANIEL KAPLAN.




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                 124.   On January 23, 2024, CC-1 and ADAM KAPLAN discussed ADAM

 KAPLAN’s financial services website. CC-1 sent ADAM KAPLAN a posted YouTube video for

 “K Twin Advisors LLC”. ADAM KAPLAN responded, “The YouTube looks great”. CC-1 also

 sent screenshots of CC-1’s computer, showing the active website, “ktwinadvisorsllc.com”.

 Despite the Court Order that the defendants refrain from employment pertaining to investment

 advisement, the website discussed providing financial services, stating, in part, “We are experts at

 finding high-return investment opportunities with low risks.” According to the website, the

 (unnamed) owners of K Twin Advisors had “unique expertise” in “financial consulting.” The

 website stated, “K Twin Advisors is a dynamic financial consulting firm that goes beyond

 traditional investment strategies. Based in Brooklyn, NY and with a wealth of experience as

 former financial advisors for industry giants, our team of twins is dedicated to delivering outside-

 of-the-box independent investments tailored to your business’s growth and success.” ADAM

 KAPLAN responded, “It’s really excellent”. The phone number listed on the website was CC-1’s

 phone number.

                 125.   ADAM KAPLAN also paid CC-1 to “block” (or lower in search results)

 articles about the KAPLANS charges by the SEC and USAO-EDNY so that when individuals

 searched for the KAPLANS, they would not see any indication that they had been charged. CC-1

 consistently texted ADAM KAPLAN about the progress of blocking these articles. For example,

 on October 12, 2023, after indictment, CC-1 texted ADAM KAPLAN, “We are soooo close to

 making you semi invisible”. ADAM KAPLAN responded “That’s the dream.”

                 126.   ADAM KAPLAN also created and/or had others post or create several

 websites and articles about him since getting indicted in an attempt to hide any search results about

 the USAO-EDNY or SEC investigations and charges. These ADAM KAPLAN-created websites




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 and articles/press releases are all available on the internet even today. For example, as recently as

 August 13, 2024, ADAM KAPLAN had a press release posted about a “memorable appearance”

 that he made on the Katie Couric show. Not mentioned in the recently posted press release is that

 the appearance was made over a decade ago, in February 2013, and that the Katie Couric show

 was a two-season talk show that ended in approximately 2014. According to CC-1, ADAM

 KAPLAN asked CC-1 to remove the “negative” search results because those results made it more

 difficult for ADAM KAPLAN to solicit funds from potential victims. It is clear that ADAM

 KAPLAN is having these articles and press releases posted to hide any public information about

 his indictment so that he can continue defrauding individuals.34

            f. CONTINUED EFFORTS TO CONCEAL AND POSSIBLY FLEE

                127.    As discussed above, before indictment, according to CC-1, ADAM

 KAPLAN used a burner phone provided by CC-1 to evade detection by law enforcement. That

 conduct continued well after indictment. Even when using burner phones, or communicating with

 victims through CC-1, ADAM KAPLAN routinely chastised CC-1 for using any references to

 ADAM KAPLAN by text.

                128.    On December 17, 2023, CC-1 wrote ADAM KAPLAN, in part, “Hey

 Adam.” ADAM KAPLAN responded, in part, “And please use ‘name’ as little as you can by SMS

 (see above Hey ___ ).” According to CC-1, ADAM KAPLAN wanted to keep his identity hidden




                34
                        Against this Court’s direct orders, DANIEL KAPLAN also has websites,
 including “danielkaplanconsulting.com,” where he offers financial consulting advice. DANIEL
 KAPLAN is also mentioned in the press releases that have been posted solely for the purpose of
 hiding information about DANIEL KAPLAN’s indictment from the public. DANIEL KAPLAN
 also, on at least one occasion, received funds from CC-1 at ADAM KAPLAN’s direction. And,
 after indictment, I am aware that DANIEL KAPLAN spoke to at least one victim, including about
 financial services.



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 because he was communicating with CC-1 about committing crimes, including fraud. CC-1

 responded, “From now on it’s Hawkeye!!!” ADAM KAPLAN responded, in part, “Hawkeye -

 cool!”

                129.    On December 24, 2023, after CC-1 used the name, “Adam” again in a text

 message, ADAM KAPLAN responded, in part, “Please leave name of texts.” ADAM KAPLAN

 later corrected “of” to “off”.

                130.    On December 27, 2023, CC-1 wrote, “Nothing came in Adam. Did you get

 an update?” ADAM KAPLAN responded, “No names by text!!!!”

                131.    On January 1, 2024, CC-1 again used the name, “Adam” in a text. ADAM

 KAPLAN responded, “No name by text por favor.”

                132.    On January 12, 2024, ADAM KAPLAN and CC-1 stopped texting through

 the 3046 Burner Phone, and ADAM KAPLAN began using a phone number ending in 2879 (the

 “2879 Burner Phone”). According to CC-1 (and corroborated by subpoenaed records) the 2879

 Burner Phone was subscribed to by CC-1. In the first message from ADAM KAPLAN to CC-1,

 ADAM KAPLAN wrote, “🤠 = Only You & Nameless*”. CC-1 responded with an image of the

 2879 Burner Phone’s full number saved in CC-1’s contacts as “Bat Line”.

                133.    ADAM KAPLAN routinely instructed CC-1 to speak to ADAM

 KAPLAN’s victims but not use ADAM KAPLAN’s name. For example, ADAM KAPLAN

 instructed CC-1 to call a victim. ADAM KAPLAN provided CC-1 with a phone number, and said,

 “After you call her lmk how it goes” CC-1 responded, “Left vm [voicemail]”. And ADAM

 KAPLAN responded, “Thanks. You didn’t say my name. Correct?” According to CC-1, ADAM

 KAPLAN tried to distance himself from any victims, plugging CC-1 in as the individual that owed

 the victims money. According to CC-1, ADAM KAPLAN attempted to accomplish this by having



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 CC-1 tell victims that CC-1 owed ADAM KAPLAN money, so CC-1 assumed ADAM

 KAPLAN’s debt to the victim. According to CC-1, CC-1 followed ADAM KAPLAN’s plan

 because ADAM KAPLAN appeared to be wealthy, and ADAM KAPLAN promised CC-1 that he

 would provide CC-1 funds for doing so.

               134.   Moreover, according to CC-1, many years ago, CC-1 lived in Costa Rica

 when he was avoiding detection by law enforcement. According to CC-1, CC-1 had previously

 relayed that information to ADAM KAPLAN. According to CC-1, just recently, including in

 August 2024, ADAM KAPLAN asked CC-1 what it was like to live in Costa Rice and how CC-1

 made money in Costa Rica. Prior to that conversation, ADAM KAPLAN told CC-1 that ADAM

 KAPLAN will need to travel “south” and then “even further south”.




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                   WHEREFORE, your deponent respectfully requests that an arrest warrant be issued

    for the defendant ADAM KAPLAN, so that he may be dealt with according to law.

                   Because disclosure of the contents of this Affidavit would jeopardize an ongoing

    investigation and threaten the safety of witnesses, it is further requ~sted that this Affidavit and the

    Arrest Warrant be filed under seal and remain under seal w1til further order of the Court.




                                                                      ]~~
                                                                      Special Agent
                                                                      Federal Bureau oflnvestigation
                         . (Ji;\,·'\.
    Sworn to before me this L
    day of September, 2024


                             0

        l's/ Joan M. Azra ck
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    THE HONORABLE JOAN M. AZRACK
    UNITED STATES DISTRICT JUDGE
    EASTERN DISTRICT OF NEW YORK




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         EXHIBIT 1
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                               UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF NEW YORK

United States or America                                            Case No. 2:23-CR-00293 (GRB)(JMW)                FI LED
                                                                                                                   IN CLERK'S OFFICE
v.                ADAM KAPLAN                   , Defendant                                                  U.S. CISTRICT COURT G.O.N.Y.

                        ORDER SETTING CONDITIONS OF RELEASE AND APPEARANC•omKJL 2 5                                             2023   *
                                                         RELEASE ORDER




      IT IS ORDERED that the defendant's release is subject to the following conditions, which the Court finds are the least
      restrictive conditions necessary to reasonably assure the appearance of the defendant as required and the safety of any
      other person and the community:
(I)      The defendant must appear in court as required and surrender as directed for service of any sentence imposed.
(2)      The defendant must not commit a federal, stale or local crime while on release.
(3}      The defendant must cooperate in the collection of DNA sample ifit is authorized by 34 U.S.C. § 40702.
(4} The defendant must advise the Court in writing before making any change in residence or telephone number.
(5) The defendant must not possess a tireann, destructive device or other dangerous weapon.
(6) The defendant must not use or unlawfully possess a narcotic drug or other controlled substances defined •in 21 U.S.C.
         § 802, unless prescribe<! by alicensed medical practitioner. Marijuana is still prohibited under federal law.
(7)      As marked below, the defendant must also:
      (,tgj) (a) submit to pretrial supervision and report to Pretrial Services as directed. The defendant is subject to random
                  home contacts and verification of employment as deemed appropriate to monitor compliance with the
                  conditions of release. The defendant shall notify Pretrial Services as soon as possible of any arrests.
      (D) (b) D cootinue or actively seek employment. 0 continue or start an education.and/or vocational program.
      (~) (c) su~der any passport to Pretrial Services by 7 / 2 (I)} 23 and not obtain a passport or any
                  international travel document.
   . ( ~) (d) not leave the followin areas except for travel to and from court: ~New York City;~ Long Island;
                 0New York State·          New Jersey· Ocontinental United States; Oas approved by Pretrial Services;
                 ~other:                  +                                                              •
    . ( (ZJ) (e) not have any contact with the following individual(s), location or entity: vICbrns              a' w~s.
      ( D) (f) maintain residence at: _ _ _ _ _ _ _ _ _ _ _ _ or at a location approved by Pretrial Services. •
      ( D} (g) undergo testing, evaluation and/or treatment for substance abuse as directed by Pretrial Services.
      ( B) (h) undergo evaluation and treatment for mental health problems, as directed by Pretrial Services.                        .
      ( ) (i) be subject to the following component oflocation monitoring, with technology as detennined by Pretrial Services:
                 ( 0) (i) Curfew - restricted to residence D daily from _ _ _ _ to _ _ _ _ ; or
                              Oas directed by Pretrial Services.
                 ( 0) (ii) ·Home Detention - restricted to residence at all times, except for court appearances, court-ordered
                               obligations, attorney visits, religious services, medical appointments, employment, education,
                               substance abuse/mental heaJth services and other activities approved in advance by PretriaJ Services.
                               Additionally, the Court permits:...,......,..._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 ( 0 ) (iii} Home Incarceration_: 24~hour lock-down at residence, except for medical necessities, court
                               appearances, and any other activities ordered by the Court.
                 ( D) (iv) Stand Alone Monitoring - no residential restri~tions; this condition will be used in conjunction
                               with global positioning system (OPS} technology. .
     ( 0 ) 0) pa all or~ of cost of location monitoring, based on ability to pay as detennined by Pretrial Services.
      ( ~) (k) · l            I(\ f                O   men                •                 v-.......   rYl..o       vis
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                                                          APPEARANCE BOND                                                    ~
.        1,,t~e undersigned defendant, and each surety who signs the bond, acknowledge that I have read this Order Setting   /s/JMW
    •..••Conditions of Release.and Appearance Bond and have either read all the other conditions of release or have had tho~
         conditions explained to me. (If the bond is secured by collateral, complete Appearance Bond Supplement.)




                                              , Surety                            Address

                                                         RELEASE OF THE BOND
      This appearance bond may be terminated at any time by the Court. This bond will be satisfied, and the collateral will be
      released when either: (I) the defendant is found not guilty on all charges, or (2) the defendant reports to serve a sentence.

                                                    FORFEITURE OF THE BOND
      If the defendant does not comply with the conditions set forth in this Order Setting Conditions of Release and Appearance
      Bond, this appearance bond may be forfeited and the Court may immediately order the amount of the bond and any
      collateral to be surrendered to the United States. At the request of the United States, the Court may order a judgment of
      forfeiture against the defendant and each surety for the entire amount of the bond, including interest and costs.
                                           ADVICE OF PENALTIES AND SANCTIONS
      TO THE DEFENDANT - YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

     - Violating any of the foregoing conditions of release may result in the immediate i5.5uance of a warrant for your arrest, a
       revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and
       could result in imprisonment, a fine, or both.                                                               •
     - While on release, if you commit a federal felony offense, the punishment is an additional prison term of not more than
       ten years, and for a federal misdemeanor offense, the punishment is an additional prison term of not more than one year.
       This sentence will be consecutive to (i.e., must follow) any other sentence you receive.
     - It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
       tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or
       intimidate or attempt to intimidate a witness, victim,juror, informant, or officer of the Court. The penalties for tampering,
       retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
     - If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a senten~ you
       may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
             (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more-you will be
                  fined not more than $250,000 or imprisoned for not more than 10 years, or both;
             (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years-you will be fined
                  not more than $250,000 or more than $250,000 or imprisoned for not more than five years, or both;
             (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
             (4) a misdemeanor-you will be fined not more than $100,000 or imprisoned not more than one year, or both.
     - A tenn of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive.
       In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.
                                           ACKNOWLEDGMENT OF THE DEFENDANT
     I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
     conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware oftbe penalties and
     sanctions set forth above.


                                                                                  Defendant's Signature Adam Kaplan

     Release oftbe Defendant is hereby ordered on        •   ~ VJ'-;>           /s/ James M. Wicks
                                                                 e     •     ~Tup,i.~'J]Jicer'sSirgnaiurelJame;;'M , US M J
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                                                                                                                          JM~w---'.j
                                                   Appearance Bond Supplement                      f5C         ~ --z------
                                                                                                                      ;,
 Defendaot:                         Adam Kaplan                       Amount ofBood: S ~           d)I'd n ~ t v~             JMW      I
The following surety or sureties, which may include the defendant, acknowledge that they have read the Order Setting (,1 St-" 'J
Conditions of Release and Appearance Bond or had these conditions explained to them. They further acknowledge 11 _
that they,jointly and severally, are bound to pay the United States of America the sum of the amount of the bond as 5~ ,J
                                                                                                                              AK
set forth in that Order. Their obligation shall be secured by their interest in the following Collateral:           oJd;{'.

       Cash deposited in the Registry of the Court in the sum of$ _ _ _ __ _ _ _ _ __
       Property {premises, securities, bonds or other asset) identified below;
       For any premises, the surety agrees to execute a confession ofjudgment, mortgage or lien in fonn approved by
       the U.S. Attorney's Office, to be duly filed with the proper local or state authorities on or before _ _ __
□      For any securities, bonds or other assets, the surety agrees to have the property restrained.

 Each owner of the Collateral agrees not to sell the property, allow further claims or encumbrances to be made against
 it, or do anything to reduce its value while the Appearance Bond is in effect.




                                                                                                    _ _ _ _ USMJ
                                  , Surety

                                                                                                    _ _ _ _ USMJ
                                  , Surety

                                                                                                    _ _ _ _ USMJ
                                  , Surety

                                                                                                    _ _ _ _ USMJ
                                  , Surety




Signed and Acknowledged by all             J // <
                                              7}
the above sureties before me on ------✓-17_,___
                                              '__
                                                   20
                                                      2.7?
                                                ¥ ' ::.2_
                                                                             /s/ James M. Wicks
                                                                          ......- ~ - - - - - - - , - - - , , I -
                                                                                                                    , USMJ.


The bond shall be secured by the interest of the surety in the following property or properties:

Property located at:
Owned by:

Property located at:
Owned by:

Property located at:
Owned by:
